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    1                         IN THE UNITED STATES DISTRICT COURT

    2                         IN AND FOR THE DISTRICT OF DELAWARE

    3                                          - - -

    4     ATELIERS DE LA HAUTE-GARONNE (French  :           CIVIL ACTION
          Corporation) and F2C2 SYSTEMS S.A.S.  :
    5     (French Corporation),                 :
                                                :
    6                 Plaintiffs,               :
                                                :
    7                v.                         :
                                                :
    8     BROETJE AUTOMATION-USA INC. (Delaware :
          Corporation), BROETJE AUTOMATION GMBH :
    9     (German Corporation),                 :
                                                :           NO. 09-598-LPS
   10                 Defendants.
                                         - - -
   11
                                      Wilmington, Delaware
   12                                Friday, April 11, 2014
                                     Jury Trial - Volume E
   13
                                               - - -
   14
          BEFORE:   HONORABLE LEONARD P. STARK, U.S.D.C.J., and a jury
   15
          APPEARANCES:                         - - -
   16

   17                    YOUNG CONAWAY STARGATT & TAYLOR, LLP
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   18                         JAMES L. HIGGINS, ESQ.

   19                         and

   20                    KAYE SCHOLER, LLP
                         BY: SCOTT G. LINDVALL, ESQ., and
   21                         JEFFREY H. HOROWITZ, ESQ.
                              (New York, New York)
   22
                              and
   23

   24
          Valerie J. Gunning                    Brian P. Gaffigan
   25     Official Court Reporter               Official Court Reporter
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    1     APPEARANCES:    (Continued)

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   17

   18

   19

   20

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   22                                      - oOo -

   23                               P R O C E E D I N G S

   24                    (REPORTER'S NOTE:    Jury trial proceedings were

   25     held in open court, beginning at 8:48 a.m.)
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    1                   THE COURT:    Good morning.

    2                   MR. LINDVALL:     Good morning.

    3                   THE COURT:    Any issues from plaintiff this

    4     morning?

    5                   MR. HOROWITZ:     Yes, Your Honor.     Two brief.

    6                   THE COURT:    Okay.

    7                   MR. HOROWITZ:     Very brief.    We don't want to use

    8     a lot of time.

    9                   THE COURT:    All right.

   10                   MR. HOROWITZ:     As you know, but, of course,

   11     we've exchanged at 7:00 a.m., as only we could come up with

   12     that schedule, geniuses that we are, two brief objections to

   13     the plaintiffs' slides.

   14                   THE COURT:    You're objecting to their slides?

   15                   MR. HOROWITZ:     Yes.   Two.   The first is slide

   16     36, the Brosene reference, and I'm hoping I don't have to

   17     pull out the record.

   18                   Perhaps Your Honor remembers this, but when

   19     Mr. Lindvall was cross-examining their expert, Mr. Lawrence,

   20     and there was an objection beyond scope, we were told they

   21     were not relying on Brosene to invalidate the patent and so

   22     we didn't cross-examine their expert about Brosene based on

   23     that representation.      It was moved into evidence.       I'm not

   24     sure we realized this.      This is our mistake.      At the end of

   25     the day when defense counsel moved in several exhibits and
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    1     they were talked about with a witness, and we think that it

    2     is inappropriate for them to now put it on a slide and rely

    3     on it for invalidity.

    4                    THE COURT:   All right.    Let me hear a response

    5     on that one.

    6                    MR. KELLEHER:    Your Honor, I actually thought I

    7     moved it in with Michael Lawrence.        I'm not a hundred

    8     percent certain.

    9                    THE COURT:   In any event, it's in evidence.

   10                    MR. KELLEHER:    Yes.

   11                    THE COURT:   What do you intend to do with it?

   12                    MR. KELLEHER:    We put it in.    I asked, what is

   13     this?    It's the Brosene patent.      What does it show?     It

   14     shows the work with rivets in tubes in the prior art and

   15     then I stopped.     I didn't ask him to read the claims onto

   16     it.   He didn't offer any opinions that it would invalidate

   17     it.

   18                    THE COURT:   What are you going to do with it

   19     today?

   20                    MR. KELLEHER:    It is the scope and content of

   21     the prior art that was disclosed a long time ago.

   22                    THE COURT:   Are you going to argue that it is

   23     part of what invalidates the patent?

   24                    MR. KELLEHER:    No.    Shinjo and Offutt were the

   25     two that we specifically offered opinions on.
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    1                   THE COURT:    Those are the ones you have opinions

    2     on, but what are you going to argue?

    3                   MR. KELLEHER:     Brosene is the background.

    4     Coiled-up tubes of rivets were in the prior art.

    5                   THE COURT:    Are you going to argue or suggest

    6     that Brosene in part in combination with something else

    7     leads to an obviousness conclusion?

    8                   MR. KELLEHER:     No, Your Honor.     The obviousness

    9     argument is Shinjo when used with rivets.

   10                   THE COURT:    All right.    What are you going to

   11     say about Brosene today?

   12                   MR. KELLEHER:     Brosene shows that there were

   13     cassettes in the prior art with rivets in tubes.

   14                   THE COURT:    That's all you're going to say?

   15                   MR. KELLEHER:     Yes, Your Honor.

   16                   THE COURT:    And why is that relevant?

   17                   MR. KELLEHER:     It is relevant, Your Honor,

   18     because, it's relevant both to their trade dress and their

   19     patent claim.     We had testimony, for example, from

   20     Mr. Auriol that putting rivets in tubes was not very

   21     original.    This is an example of that.

   22                   THE COURT:    All right.    Mr. Horowitz?

   23                   MR. HOROWITZ:     Just very briefly, Your Honor.

   24     This is what happened yesterday.

   25                   Mr. Lindvall:     Under that condition that Brosene
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    1     does not invalidate any of the claims of the patent, I don't

    2     have any questions.

    3                   He didn't say questions, but that's what he was

    4     about to say.

    5                   The Court:    He is not express than go an opinion

    6     that Brosene invalidates?

    7                   Mr. Kelleher:     He did not today.     And here is

    8     Brosene underneath a slide that says invalidity and the

    9     prior art.

   10                   THE COURT:    This is a very tricky area, but I'm

   11     going to overrule the objection.        There's going to be no

   12     argument that Brosene per se contributes to invalidating the

   13     patent-in-suit.     No opinion was offered to that effect.

   14                   I'm told Brosene was only offered for

   15     background.    It's a very fine line distinction between

   16     background and whether in an overall obviousness analysis

   17     it helps support a finding of obviousness.          But it's not

   18     how things played out and what Mr. Kelleher represented he

   19     was going to do.     I'm not going to make them strike the

   20     slide and I will let him say what he represented he would

   21     say.

   22                   MR. HOROWITZ:     Mr. Lindvall has given me eight

   23     seconds for the next one, so slide 18.         All I'm going to say

   24     is we believe this violates directly the instruction you're

   25     going to give on the foreign law and we think that that runs
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    1     afoul on that instruction.

    2                   THE COURT:    All right.    Mr. Kelleher?

    3                   MR. KELLEHER:     Yes, Your Honor.     They're still

    4     quoting from the French judgment concerning the supposedly

    5     identical cassette and infringement of the European patent.

    6     We want the jury to understand that both sides have won

    7     various things in Europe and it's still open.

    8                   THE COURT:    All right.    I mean, if I could turn

    9     back time, I would keep all of this out because I don't

   10     think it has been helpful to anybody, but I've proposed and

   11     you all agreed to an instruction that I think makes it clear

   12     hopefully to the jury what limited, if any, relevance any of

   13     this has to anything.      And so I'm not going to strike the

   14     slide although it certainly is, I think, an attempt to drive

   15     home something that is irrelevant, but if you want to show

   16     pictures of gavels, go ahead.

   17                   MR. KELLEHER:     Thank you, your Honor.

   18                   THE COURT:    Anything else from plaintiff?

   19                   MR. LINDVALL:     No, Your Honor.

   20                   MR. KELLEHER:     No, Your Honor.

   21                   THE COURT:    Issues from defendant?

   22                   MR. KELLEHER:     Nothing, Your Honor.

   23                   THE COURT:    All right.    So on the verdict form,

   24     I appreciate you all finding the typographical errors.            We

   25     made the changes that you all had agreed on.
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    1                   Was there anything else before we docket and

    2     make that the verdict form, the one that you sent to us last

    3     night?   Anything from plaintiff?

    4                   MR. LINDVALL:     I don't believe so, Your Honor.

    5                   THE COURT:    Okay.   Anything from defendant?

    6                   MR. KELLEHER:     No problems with it, Your Honor.

    7                   THE COURT:    All right.    And in terms of time,

    8     before we argue for a few seconds here this morning, as I

    9     have it, the plaintiff has an hour and 11 minutes left.

   10     Defendants have 35 minutes left.        You're aware of that?

   11                   MR. LINDVALL:     Yes.

   12                   MR. HOROWITZ:     Yes, Your Honor.

   13                   THE COURT:    You're aware of that, Mr. Kelleher?

   14                   MR. KELLEHER:     Yes.

   15                   THE COURT:    I imagine I have at least another

   16     hour of reading to do, so what I thought I would do, rather

   17     than make the jury sit through three straight hours

   18     uninterrupted is, we'll get started as close to 9:00 as we

   19     can.   I will read the instructions through the foreign law

   20     one, Section 13, and then give them a break, probably,

   21     hopefully, a shortish break and then try to plow through

   22     both of the closings and my final instructions and reading

   23     the verdict sheet and then send them back there with their

   24     lunch to begin deliberating.

   25                   Any questions about any of that?
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    1                   MR. LINDVALL:      No, Your Honor.

    2                   MR. KELLEHER:      No, Your Honor.

    3                   THE COURT:    Mr. Kelleher?

    4                   MR. KELLEHER:      No.

    5                   THE COURT:    Okay.      Anything else?   No?   All

    6     right.    I'm not going to take the time to bore you with my

    7     ruling on the jury instructions right now.          We'll do that

    8     probably when the jury is off deliberating.          We'll be in

    9     recess.

   10                   (Brief recess taken.)

   11                   *      *      *

   12                   (Proceedings reconvened after recess.)

   13                   THE COURT:    Bring the jury in.

   14                   (Jury returned.)

   15                   THE COURT:    Good morning, ladies and gentlemen.

   16     Welcome back.

   17                   A JUROR:     Good morning.

   18                   THE COURT:    Mr. Looby, before you sit, I'm going

   19     to have him pass out to you more paper.         This is the verdict

   20     sheet which will become relevant to you later today.           I

   21     wanted you to have that.        I will read it to you when I'm

   22     done with all the final instructions which will be after you

   23     hear closing arguments, but you may see it or hear reference

   24     to it during the lawyers' closing arguments so I wanted you

   25     to have your copy, but before we get to closing arguments, I
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     1    have some instructions to read to you, as you know.            So I'm

     2    going to pick up where I left off, at the end of yesterday,

     3    which is page 49.

     4                   I am at now Section 7.0, entitled Trade Dress

     5    Instructions.

     6                   7.1 is called Definition of a Trade Dress.

     7                   Trade dress is the nonfunctional physical detail

     8    and design of a product or its packaging, which identifies

     9    the product's source and distinguishes it from the products

   10     of others.

   11                    Trade dress is the product's total image and

   12     overall appearance, and may include features such as size,

   13     shape, color, color combinations, texture or graphics.            In

   14     other words, trade dress is the form in which a person

   15     presents a product or service to the market, its manner of

   16     display.

   17                    A trade dress is nonfunctional if, taken as a

   18     whole, the collection of trade dress elements is not

   19     essential to the product's use or purpose or does not affect

   20     the cost or quality of the product even though certain

   21     particular elements of the trade dress may be functional.

   22                    Trade dress concerns the overall visual impression

   23     created in the consumer's mind when viewing the nonfunctional

   24     aspects of the product and not from the utilitarian or useful

   25     aspects of the product.       In considering the impact of the
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     1    nonfunctional aspects, which are often a complex combination

     2    of many features, you must consider the appearance of features

     3    together, rather than separately.

     4                   A person who uses the trade dress of another may

     5    be liable for damages.

     6                   7.2.   Functionality.

     7                   Only nonfunctional trade dress is protectable.

     8                   The term "functional" has a specific meaning in

     9    trade dress law.      Trade dress is not considered "functional"

   10     merely because the trade dress, or its components, perform

   11     useful functions.      Thus, for example, all bottles perform

   12     the same function of holding a liquid, but this does not

   13     mean that the specific design chosen for a bottle is

   14     necessarily considered "functional" and unprotectable.

   15                    A design feature of a product is considered

   16     "functional" and thus unprotectable as trade dress if that

   17     design feature is essential to the use or purpose of the

   18     product or if it affects the cost or quality of the product.

   19     Put another way, a feature is functional if the product

   20     works better because of that particular feature, such as a

   21     shape, texture, color design, et cetera.

   22                    In determining whether AHG's trade dress is

   23     functional, you should consider the trade dress as a whole.

   24     A trade dress consisting of a combination of features may

   25     be nonfunctional and thus protectable, even though the
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     1    combination includes functional features that, taken

     2    separately, would not be protectable.         However, where the

     3    combination as a whole is functional, the trade dress is not

     4    protectable.

     5                   7.3.   The Plaintiffs' Burden of Proof.

     6                   In this case, the plaintiffs, AHG, contend that

     7    the defendants, Broetje, has infringed AHG's trade dress.

     8    AHG has the burden of proving by a preponderance of the

     9    evidence that it is the owner of a valid trade dress and

   10     that Broetje infringed that trade dress.          Preponderance of

   11     the evidence means that you must be persuaded by the

   12     evidence that it is more probably true than not true that

   13     Broetje infringed AHG's trade dress.

   14                    7.4.   Infringement - Elements and Burden of

   15     Proof - Trade Dress.

   16                    On AHG's claim for trade dress infringement, AHG

   17     has the burden of proving by a preponderance of the evidence

   18     each of the following elements:

   19                    1.   That the product configuration of AHG's

   20     cassettes has acquired secondary meaning;

   21                    2.   That AHG owns the product configuration of

   22     its cassette as trade dress;

   23                    3.   That the product configuration of AHG's

   24     cassette is nonfunctional; and

   25                    4.   That Broetje used a product configuration
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     1    for its cassettes that was similar to AHG's product

     2    configuration without AHG's consent in a manner that is

     3    likely to cause confusion among ordinary consumers as to the

     4    source, sponsorship, affiliation, or approval of Broetje's

     5    product configuration.

     6                   If you find that each of the elements on which

     7    AHG has the burden of proof has been proved, your verdict

     8    should be for AHG.      If, on the other hand, AHG has failed to

     9    prove any of these elements, your verdict should be for

   10     Broetje.

   11                    7.5.   Ownership and Priority.

   12                    One of the things that AHG must prove is that

   13     AHG owns the chrome color of its cassette; the shape and

   14     size of its cassette; the shape, size, color and placement

   15     of the handle; the placement, size and shape of the white

   16     connectors; the clear case cover; and the overall look and

   17     feel of the cassette as trade dress.

   18                    AHG owns the chrome color of its cassette; the

   19     shape and size of its cassette; the shape, size, color and

   20     placement of the handle; the placement, size and shape of

   21     the white connectors; the clear case cover; and the overall

   22     look and feel of the cassette as a trade dress in the

   23     cassette if AHG used the trade dress in the United States in

   24     a manner that allowed consumers to identify the trade dress

   25     with AHG or its product before the Broetje Parties began to
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     1    use the current product configuration on their rivet

     2    cassettes.

     3                   Among the factors you may consider are the

     4    volume of sales of AHG's product, the nature of AHG's sales

     5    and purchasers, the amount of AHG's advertising, and

     6    publicity relating to the product.

     7                   7.6.   Acquired Distinctiveness - Secondary

     8    Meaning.

     9                   Only distinctive trade dress is protectable;

   10     generic trade dress is not.

   11                    A "generic" trade dress is a common or general

   12     trade dress for a product whose primary significance to the

   13     consuming public is to identify a class of similar products,

   14     regardless of who sells them.        The consuming public consists

   15     of people who may buy or use, or consider buying or using,

   16     the product or similar product, for example, bear-shaped

   17     gummy candies are common in the candy industry and are

   18     generic shapes for this type of candy.

   19                    You should find that the trade dress at issue

   20     in this case is "distinctive" only if you find that it had

   21     acquired secondary meaning in the United States by the date

   22     the Broetje Parties first sold a product in the United

   23     States that AHG claims infringes that trade dress.            I will

   24     now explain to you the idea of "secondary meaning."

   25     Secondary meaning distinguishes the goods it represents from
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     1    similar goods offered by others and refers to the ability of

     2    trade dress to relay to the public that the product or

     3    service comes from a particular source.          Trade dress

     4    acquires secondary meaning when it has been used in such a

     5    way that its primary significance in the minds of

     6    prospective purchasers is not the product itself but the

     7    identification of the product with a particular source.            In

     8    addition to your common sense and common experience as

     9    citizens in the community, you may also consider the

   10     following factors in determining whether a particular trade

   11     dress has acquired secondary meaning:         (1) AHG's advertising

   12     expenditures, measured primarily with regard to those for

   13     advertisements which highlight the supposedly distinctive,

   14     identifying feature; (2) length of use; (3) exclusivity of

   15     use; (4) the fact of copying; (5) customer surveys; (6)

   16     customer testimony; (7) the use of trade dress in trade

   17     journals; (8) the size of the company; (9) the number of

   18     sales; (10) the number of customers; and (11) actual

   19     confusion.

   20                    The presence or absence of any particular factor

   21     should not necessarily resolve whether AHG's trade dress had

   22     acquired secondary meaning.

   23                    AHG has the burden of proving that its trade

   24     dress has had acquired a secondary meaning.

   25                    The mere fact that AHG may be using its trade
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     1    dress, or that AHG may have begun using it before Broetje,

     2    does not mean that the trade dress had acquired secondary

     3    meaning.    There is no particular length of time that a trade

     4    dress must be used before it acquires secondary meaning.

     5                   7.7.   Likelihood of Confusion.

     6                   I will suggest some factors you should consider

     7    in deciding likelihood of confusion.         The presence or

     8    absence of any particular factor that I suggest should not

     9    necessarily resolve whether there was a likelihood of

   10     confusion, because you must consider all relevant evidence

   11     in determining this.      As you consider the likelihood of

   12     confusion you should examine the following:

   13                    1.   Strength or weakness of AHG's trade dress.

   14     The more the consuming public recognizes AHG's trade dress

   15     as an indication of origin of AHG's rivet cassettes, the

   16     more likely it is that consumers would be confused about

   17     the source of the Broetje Parties' rivet cassettes if the

   18     Broetje Parties use a similar trade dress;

   19                    2.   Similarity of AHG's trade dress and the

   20     Broetje Parties' product configuration.          If the overall

   21     impression created by AHG's trade dress is similar to that

   22     created by the Broetje Parties' product configuration, there

   23     is a greater chance that consumers are likely to be confused

   24     by the Broetje Parties' product configuration;

   25                    3.   Similarity of AHG' and the Broetje Parties'
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     1    goods or services.      If the Broetje Parties and AHG market

     2    the same or related kinds of rivet cassettes, there may be a

     3    greater likelihood of confusion about the source of rivet

     4    cassettes than others;

     5                   4.   Actual confusion.     If there is evidence of

     6    actual buyer confusion concerning AHG's trade dress and the

     7    Broetje Parties' product configuration, this strongly

     8    suggests a likelihood of confusion.         However, AHG need not

     9    produce evidence of actual buyer confusion in order for you

   10     to find that a likelihood of confusion exists;

   11                    5.   The Broetje Parties' intent in adopting

   12     their product configuration.        Any evidence that the Broetje

   13     Parties adopted their product configuration with the intent

   14     to cause confusion between their rivet cassettes and AHG's

   15     rivet cassettes should be weighed heavily in favor of a

   16     finding of likelihood of confusion if: (a) the Broetje

   17     Parties' intent to confuse or deceive is demonstrated by

   18     clear and convincing evidence, and (b) the rivet cassettes'

   19     labeling and marketing are also affirmatively deceiving.             On

   20     the other hand, any evidence of the Broetje Parties' good

   21     faith in seeking to avoid confusion (including the prominent

   22     use or placement of the Broetje Parties' name or trademark

   23     on its rivet cassettes) should be weighed against a finding

   24     of likelihood of confusion;

   25                    6.   Distribution channels.      If AHG's and the
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     1    Broetje Parties' rivet cassettes are likely to be sold to

     2    the same or similar customers or through the same

     3    distribution channels, this increases the likelihood of

     4    confusion;

     5                   7.    The degree of purchaser care.      The more

     6    costly the rivet cassettes, the more sophisticated, careful

     7    and discriminating the buyers are likely to be.           Thus,

     8    they may be less likely to be confused by similarities in

     9    AHG's trade dress and the Broetje Parties' product

   10     configuration.

   11                    8.    The length of time the Broetje Parties have

   12     used their product configuration without evidence of actual

   13     confuse arising;

   14                    9.    The extent to which the targets of AHG's and

   15     the Broetje Parties' sales efforts are the same;

   16                    10.   The relationship of the goods in the minds

   17     of consumers because of the similarity of function; and

   18                    11.   Other facts suggesting that the consuming

   19     public might expect AHG to manufacture a product in

   20     Broetje's market, or that AHG is likely to expand into that

   21     market.

   22                    Although you should consider all of the above

   23     factors as part of making your decision, the above list is

   24     not intended to be exclusive and you should consider any

   25     other factors or evidence that bear on likelihood of
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     1    confusion.

     2                   In considering these factors, your general

     3    knowledge, and any other evidence, you should not treat any

     4    single factor as dispositive; nor should you treat this as a

     5    simple mathematical exercise where the party with most of

     6    the above factors in its favor wins.         In other words, while

     7    you should consider all the above factors, some factors may

     8    be more important than others in the context of this case.

     9    Thus, you should balance all the above factors and any other

   10     relevant factors or evidence to determine whether, in light

   11     of all the circumstances of this case, consumers are likely

   12     to be confused.

   13                    Section 8.0 relates to unfair competition.

   14                    The parties agree that the same standard governs

   15     infringement of an unregistered trade dress as governs the

   16     claim for unfair competition under the same federal statute.

   17     The parties further agree that the same standards govern the

   18     claims for unfair competition in violation of state law.

   19     Therefore, if you find for AHG on its trade dress

   20     infringement claim, you should also find for AHG on its

   21     unfair competition claims.       Similarly, if you find for

   22     Broetje on its trade dress infringement claim, you

   23     should also find for Broetje on AHG'S unfair competition

   24     claims.

   25                    9.0.   Intentional interference with prospective
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     1    economic relations.

     2                   9.1.   Elements of claim.

     3                   AHG claims that the Broetje Parties

     4    intentionally interfered with an economic relationship

     5    between AHG and third parties that probably would have

     6    resulted in an economic benefit to AHG.          To establish this

     7    claim, AHG must prove all of the following:

     8                   1.   That AHG and the third party were in an

     9    economic relationship that probably would have resulted in

   10     an economic benefit to AHG;

   11                    2.   That the Broetje Parties knew of the

   12     relationship;

   13                    3.   That the Broetje Parties engaged in wrongful

   14     conduct through trade dress infringement or patent

   15     infringement;

   16                    4.   That by engaging in this conduct, the

   17     Broetje Parties intended to disrupt the relationship;

   18                    5.   The relationship that was disrupted.

   19                    6.   That AHG was harmed; and

   20                    7.   That the Broetje Parties' wrongful conduct

   21     was a substantial factor in causing AHG's harm.

   22                    Now we're at Section 10.0, patent damages.

   23                    10.1 is patent damages generally.

   24                    I previously instructed you as to the law

   25     governing patent infringement and invalidity.           If you find
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     1    that the Broetje Parties infringed one or more of claims 1,

     2    2, or 6 of the '339 patent, or claims 1 or 2 of the '216

     3    patent, by making, using, selling, or offering for sale any

     4    of their accused products, you must determine the amount of

     5    money damages to be awarded to AHG for the patent

     6    infringement.     The amount of damages must be adequate to

     7    compensate AHG for the infringement.         If you do not find

     8    patent infringement by the Broetje Parties' accused

     9    products, you will not consider patent damages at all.

   10                    AHG is entitled to damages that it has proven

   11     with reasonable certainty.       On the one hand, reasonable

   12     certainty does not require proof of damages with

   13     mathematical precision.       Mere difficulty in ascertaining

   14     damages is not fatal to the patent owner.          On the other

   15     hand, the patent owner is not entitled to speculative

   16     damages; that, you should not award any amount for loss,

   17     which, although possible, is remote or left to conjecture or

   18     guess.     You may base your evaluation of reasonable certainty

   19     on any evidence, including expert or opinion evidence.

   20                    AHG has the burden of proving each element of

   21     its damages by a preponderance of the evidence.           In other

   22     words, you should award only the amount of lost profits that

   23     AHG establishes that it more likely than not would have

   24     received in profit but for Broetje's infringement of AHG's

   25     patents.    The damages award should be based on sound
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     1    economic proof of the nature of the market.

     2                   It is not relevant to the question of damages

     3    whether the Broetje Parties benefited from, realized profits

     4    from, or even lost money as a result of the acts of

     5    infringement.     The only issue is the amount necessary to

     6    adequately compensate AHG for the Broetje Parties' patent

     7    infringement.     Adequate compensation should return AHG to

     8    the position it would have been in had there been no patent

     9    infringement.

   10                    The fact that I am instructing you as to the

   11     proper measure of damages should not be construed as

   12     intimating any view of the Court as to which party is

   13     entitled to prevail in this case.         Instructions as to the

   14     measure of damages are given for your guidance in the event

   15     you find the evidence in favor of AHG.

   16                    10.2.   Date patent damages may begin and end.

   17                    In this case, for any infringement of the '216

   18     patent that you find, you should begin calculating damages

   19     as of the date AHG first notified the Broetje Parties of its

   20     claim for patent infringement of the '216 patent.           The

   21     parties do not agree on that date, and it is up to you to

   22     determine what that date is.        AHG must prove that it is more

   23     likely than not that the Broetje Parties actually were

   24     notified of the claim for patent infringement of the '216

   25     patent as of the date alleged by AHG.         AHG can give notice
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     1    of the '216 patent by notifying the Broetje Parties with a

     2    specific claim that the accused products infringed the '216

     3    patent.    Such notice starts from the date the Broetje

     4    Parties received the notice.        If you find that AHG, before

     5    filing this lawsuit, did not notify the Broetje Parties with

     6    a specific charge that the accused products infringed the

     7    '216 patent, then AHG can only recover damages for

     8    infringement of the '216 patent that occurred after it sued

     9    the Broetje Parties on May 12, 2009.

   10                    For any infringement of the '339 patent that you

   11     find, you should begin calculating damages as of the date

   12     you find that the Broetje Parties began making, using,

   13     selling, or offering for sale any of the accused products

   14     that infringed any claim of the '339 patent.

   15                    The date that patent damages end in this case is

   16     the date the '339 patent and the '216 patent expired, which

   17     is December 7, 2009.

   18                    There are two common methods for computing

   19     damages in a patent infringement case.          One is called lost

   20     profits damages and the other is called reasonable royalty

   21     damages.    In this case, AHG is seeking only lost profits in

   22     connection with its patent infringement claims.           Lost

   23     profits damages compensate the patent owner for the

   24     additional profits it would have made if the accused

   25     infringer had not infringed.        You may here this referred to
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     1    as the but-for test.

     2                   10.4, entire market value rule.

     3                   The entire market rule allows for the recovery

     4    of damages based on the value of an entire product

     5    containing several features, even though only one feature is

     6    patented, when the patented feature constitutes the basis

     7    for consumer demand for the product.         In other words, a

     8    plaintiff can receive damages for lost sales of non-patented

     9    components where plaintiff proves that the patented feature

   10     drove customer demand for the non-patented components.

   11     Further, the plaintiff must prove that the infringing and

   12     noninfringing components are sold together so that they

   13     constitute a functional unit or are parts of a complete

   14     machine or single assembly of parts.         Lastly, the plaintiff

   15     must prove that the individual infringing and noninfringing

   16     components are analogous to a single functioning unit.            So,

   17     if you find that AHG has proven by a preponderance of the

   18     evidence that customers demanded Broetje's cassettes because

   19     of the patented features, you may award damages based on the

   20     value of the entire cassette.        However, if you find that

   21     customers' demand for Broetje's cassettes is based on

   22     something other than the patented feature, you should award

   23     damages based on the value of the patented features and not

   24     the value of the entire cassette.

   25                    10.5, patent lost profits -- but-for test.
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     1                   AHG is seeking its lost profits as its patent

     2    damages.

     3                   AHG must prove the amount of its lost profits.

     4    To recover lost profits for some or all of the infringing

     5    sales, AHG must show by a preponderance of evidence that,

     6    but for the infringement, AHG would have made profits.            The

     7    lost profits may be profits that would have resulted from

     8    AHG's sales or a portion of them that the Broetje Parties

     9    made of the accused product.        Thus, part of your job is to

   10     determine what the customers who purchased the accused

   11     product from the Broetje Parties would have done if the

   12     alleged infringement had not occurred.          The profits I have

   13     been referring to are the profits allegedly lost by AHG, not

   14     the profits, if any, made by the Broetje Parties.

   15                    10.6, patent lost profits from lost sales (the

   16     Panduit factors).

   17                    AHG has proven its lost profits if you find that

   18     AHG has proven each of the following factors by a

   19     preponderance of the evidence.

   20                    1.   There was demand for the patented product;

   21                    2.   There was an absence of acceptable

   22     noninfringing substitutes.

   23                    3.   That AHG had the manufacturing and marketing

   24     ability to make all or a part of the infringing sales

   25     actually made by the Broetje Parties; and
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     1                   4.   The amount of profit AHG would have made if

     2    it were not for the Broetje Parties' infringement.

     3                   I will now explain each of these factors.

     4                   10.7.   Lost profits -- demands.

     5                   The first Panduit factors asks whether there was

     6    demand for the patented product in the relevant market.            AHG

     7    can prove demand for the patented product by showing

     8    significant sales of AHG's own patented product.           AHG can

     9    also prove demand for the patented product by showing

   10     significant sales of the Broetje Parties' products that are

   11     covered by the patent-in-suit.        To use sales of the Broetje

   12     Parties' products as proof of this demand, however, AHG's

   13     and the Broetje Parties' products must be sufficiently

   14     similar to compete against each other in the same market or

   15     market segment.     You should also not consider sales of

   16     products that are mainly due to advertising and marketing,

   17     or due to unpatented features of the products as evidence of

   18     demand for the patented product.

   19                    10.8.   Lost profits -- acceptable non-infringing

   20     substitutes.

   21                    The second factor asks whether there were

   22     noninfringing, acceptable substitutes for the patented

   23     products in the marketplace.        If the realities of the

   24     marketplace are that competitors other than AHG would likely

   25     have captured some or all of the sales made by the Broetje
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     1    Parties, even despite a difference in the products, then AHG

     2    is not entitled to lost profits on those sales.

     3                   To be an acceptable substitute, the products

     4    must have had one or more of the advantages of the patented

     5    invention that were important to the actual buyers of the

     6    infringing products (not necessarily to the public in

     7    general.)    The acceptable substitutes also must not infringe

     8    the patent because they were licensed under the patent or

     9    they did not include all of the features required by the

   10     patent.    The acceptable substitutes, in addition, must have

   11     been available during the damages period.          An acceptable

   12     noninfringing substitute is available if, during the damages

   13     period, a competitor or the Broetje Parties had all the

   14     necessary equipment, materials, know-how, and experience to

   15     design and manufacture the substitute and sell such

   16     substitute instead of its infringing products at the time

   17     the sales for the infringing products were made.           If you

   18     determine that some of the Broetje Parties' customers would

   19     just as likely have purchased a noninfringing acceptable

   20     product, then AHG has not shown it lost those sales but-for

   21     Broetje's sales.

   22                    Even if you find that AHG's and the Broetje

   23     Parties' products were the only ones with the advantages of

   24     the patented invention, it still remains AHG's burden to

   25     prove that it in fact would have made the Broetje Parties'
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     1    infringing sales.

     2                   10.9.    Lost profits -- capacity.

     3                   The third factor asks whether AHG had the

     4    manufacturing and marketing ability to actually make the

     5    sales it allegedly lost due to the Broetje Parties'

     6    infringement.     AHG must prove that it could have supplied

     7    the additional patented products needed to make the sales

     8    AHG said it lost, or that someone working with AHG could

     9    have supplied the additional patented products.           AHG also

   10     must prove that it had the ability to market and sell those

   11     additional patented products.

   12                    10.10.    Collateral sales -- convoyed or

   13     derivative sales.

   14                    In this case, AHG contends that the patented

   15     product is ordinarily sold along with other products, namely

   16     AHG's loading stations, distribution racks, and other parts.

   17     These other products are called collateral products, and the

   18     sales of these types of collateral products are usually

   19     referred to as convoyed sales.        Another type of collateral

   20     products is spare or replacement parts.          The sales of these

   21     types of collateral products are usually referred to as

   22     derivative sales.       It is part of your job to determine if

   23     AHG has proven that it is entitled to damages for the lost

   24     sales of any collateral products.

   25                    To recover lost profits for lost sales of any
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     1    collateral products, AHG must prove two things.           First, AHG

     2    must prove that it is more likely than not that it would

     3    have sold the collateral products but-for the infringement.

     4    Second, the collateral products and the patented product

     5    must be so closely related that they effectively act or are

     6    used together for a common purpose.         Damages for lost

     7    collateral sales, if any, are calculated in the same way as

     8    for calculating lost profits on the patented product.

     9                   10.11.    Lost profits -- doubts resolved against

   10     infringer.

   11                    Any doubts that you may have on the issue of

   12     damages due to the Broetje Parties' failure to keep proper

   13     records should be decided in favor of AHG.

   14                    10.12.    Patent damages interest.

   15                    Neither AHG's nor Broetje's calculations include

   16     interest.    Therefore, in arriving at your damages

   17     calculation, you should not consider interest in any way

   18     because it is the function of the Court to award interest.

   19                    Section 11.0.    Non-patent damages.

   20                    11.1.    Damages for trade dress infringement and

   21     unfair competition -- generally.

   22                    If you find based on the instructions you have

   23     been given that Broetje infringed AHG's trade dress and/or

   24     unfairly competed with AHG, you may award AHG damages in an

   25     amount you determine to be fair and equitable, consisting of
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     1    the sum of, (1), AHG's actual damages attributable to

     2    Broetje's infringing AHG's trade dress and/or unfair

     3    competition; and (2) Broetje's profits attributable to

     4    infringing AHG's trade dress and/or unfairly competing with

     5    AHG.

     6                   11.2.   Damages for trade dress infringement and

     7    unfair competition -- actual damages.

     8                   If you find for AHG on its trade dress

     9    infringement claim, you must determine AHG's actual

   10     damages.

   11                    AHG has the burden of proving actual damages by

   12     a preponderance of the evidence.        Damages means the amount

   13     of money which will reasonably and fairly compensate the

   14     plaintiff for any injury you find was caused by defendants'

   15     infringement of the plaintiffs' trade dress.

   16                    You should consider the following:        (1) the

   17     injury to or loss to the plaintiffs' reputation; (2), the

   18     injury to loss of the plaintiffs' goodwill, including injury

   19     to the plaintiffs general business reputation.           (3), the

   20     lost profits that the plaintiff would have earned but for

   21     the defendants' infringement; and, (4), the expense of

   22     preventing customers from being deceived.

   23                    When considering prospective costs, you must not

   24     overcompensate.     Accordingly, your award of such future

   25     costs should not exceed the actual damage to the value of
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     1    the plaintiffs' mark at the time of the infringement by the

     2    defendant.

     3                   11.3.   Damages for trade dress infringement and

     4    unfair competition -- Broetje's profits.

     5                   In addition to actual damages, the plaintiff is

     6    entitled to any profits earned by the defendant that are

     7    attributable to the infringement, which the plaintiff proves

     8    by a preponderance of the evidence.         You may not, however,

     9    include in any award of profits any amount that you took

   10     into account in determining actual damages.

   11                    Profit is determined by deducting all expenses

   12     from gross revenue.      Gross revenue is all of the Broetje

   13     Parties' revenues resulting from using the use of AHG's

   14     trade dress.

   15                    Expenses are all operating, overhead and

   16     production costs incurred in producing the gross revenue.

   17     The defendant has the burden of proving the expenses and the

   18     portion of the profit attributable to factors other than the

   19     use of the infringed trade dress by a preponderance of the

   20     evidence.

   21                    Unless you find that a portion of the profit

   22     from the use of AHG's trade dress is attributable to factors

   23     other than the use of the trade dress, you shall find that

   24     the total profit is attributable to the infringement.

   25                    11.4.   Damages for trade dress infringement:
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     1    Intentional infringement.

     2                   If you find that Broetje infringed AHG's trade

     3    dress, you must determine whether Broetje used the trade

     4    dress intentionally, showing it was an infringement.

     5                   11.5.   Damages for trade dress infringement and

     6    state unfair competition:       Punitive damages.

     7                   If you decide that the Broetje Parties' conduct

     8    caused AHG harm, you must decide whether that conduct

     9    justifies an award of punitive damages.          The purposes of

   10     punitive damages are to punish a wrongdoer for the conduct

   11     that harmed the plaintiff and to discourage similar conduct

   12     in the future.

   13                    You may award punitive damages against the

   14     Broetje Parties only if AHG proves that the Broetje Parties

   15     engaged in unfair competition, and that the Broetje Parties

   16     did so with malice, oppression, or fraud.          To do this, AHG

   17     must prove one of the following by clear and convincing

   18     evidence:

   19                    1, that the conduct constituting malice,

   20     oppression, or fraud was committed by one or more officers,

   21     directors, or managing agents of the Broetje Parties, who

   22     acted on behalf of the Broetje Parties; or

   23                    2.   That the conduct constituting malice,

   24     oppression, or fraud was authorized by one or more officers,

   25     directors, or managing agents of the Broetje Parties; or
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     1                   3, that one or more officers, directors, or

     2    managing agents of the Broetje Parties knew of the conduct

     3    constituting malice, oppression, or fraud and adopted or

     4    approved that conduct after it occurred.

     5                   Malice means that the Broetje Parties acted with

     6    intent to cause sir gee or that the Broetje Parties' conduct

     7    was despicable and was done with a willful and knowing

     8    disregard for AHG's rights.        A person acts with knowing

     9    disregard when he or she is aware of the probable harmful

   10     consequences of his or her conduct and deliberately fails to

   11     avoid those consequences.       Oppression means that the Broetje

   12     Parties' conduct was despicable and subjected AHG to cruel

   13     and unjust hardship in knowing disregard of AHG's rights.

   14     Despicable conduct is conduct that is so vial, base, or

   15     contemptible that it would be looked down on and despised by

   16     reasonable people.      Fraud means that the Broetje Parties

   17     intentionally misrepresented or concealed a material fact

   18     and did so intending to harm AHG.

   19                    An employee is a managing agent if he or she

   20     exercises substantial independent authority and judgment in

   21     his or her corporate decision-making such that his or her

   22     decisions ultimately determine corporate policy.

   23                    There is no fixed formula for determining the

   24     amount of punitive damages, and you are not required to

   25     award any punitive damages.        If you decide to award punitive
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     1    damages, you should consider all of the following factors in

     2    determining the amount:

     3                   (a) how reprehensible was the Broetje Parties'

     4    conduct?    In deciding how reprehensible the Broetje Parties'

     5    conduct was, you may consider, among other factors:

     6                   1.   Whether the Broetje Parties' conduct

     7    involved a pattern or practice; and.

     8                   2.   Whether the Broetje Parties acted with

     9    trickery or deceit.

   10                    (b).    Is there a reasonable relationship between

   11     the amount of punitive damages and AHG's harm?

   12                    (c).    In view of the Broetje Parties financial

   13     condition, what amount is necessary to punish it and

   14     discourage future wrongful conduct?         You may not increase

   15     the punitive award above an amount that is otherwise

   16     appropriate merely because the Broetje Parties have

   17     substantial financial resources.        Any award you impose may

   18     not exceed the Broetje Parties' ability to pay.

   19                    Punitive damages may not be used to punish the

   20     Broetje Parties for their impact of their alleged misconduct

   21     on persons other than AHG.

   22                    11.6.   Statute of limitations:      Trade dress

   23     infringement.

   24                    The Broetje Parties contend that AHG's lawsuit

   25     was not filed within the time set by law.          I instruct you
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     1    that you can only find the Broetje Parties liable for trade

     2    dress infringement that AHG proves occurred after May 12,

     3    2006.    You cannot find the Broetje Parties liable for any

     4    trade dress infringement that may have occurred before May

     5    12, 2006.

     6                   11.7.   Statute of limitations:      Trade dress

     7    infringement -- delayed discovery.

     8                   If the Broetje Parties prove that AHG's claimed

     9    harm occurred before May 12, 2006, AHG's lawsuit was still

   10     filed on time if AHG proves that before that date, AHG did

   11     not discover, and did not know of facts that would have

   12     caused a reasonable person to suspect, that it had suffered

   13     harm in the United States that was caused by machines

   14     wrongful conduct.

   15                    11.8.   Statute of limitations:      Federal law

   16     unfair competition.

   17                    The Broetje Parties contend that AHG's lawsuit

   18     was not filed within the time set by law.          I instruct you

   19     that you can only find the Broetje Parties liable for unfair

   20     competition under federal law for unfair competition that

   21     AHG proves occurred after May 12, 2006.          You cannot find the

   22     Broetje Parties label for any federal unfair competition

   23     that may have occurred before May 12, 2006.

   24                    11.9.   Statute of limitations:      Federal law

   25     unfair competition -- delayed discovery.
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     1                   If the Broetje Parties prove that AHG's claimed

     2    harm occurred before May 12, 2006, AHG's lawsuit was still

     3    filed on time if AHG proves that, before that date, AHG did

     4    not discover, and did not know of facts that would have

     5    caused a reasonable person to suspect, that it had suffered

     6    harm in the United States that was caused by someone's

     7    wrongful conduct.

     8                   11.10.   Statute of limitations:      State law

     9    unfair competition (state law).

   10                    The Broetje Parties contend that AHG's lawsuit

   11     was not filed within the time set by law.          I instruct you

   12     that you can only find the Broetje Parties liable for trade

   13     dress infringement that AHG proves occurred after May 12th,

   14     2007.    You cannot find the Broetje Parties liable for any

   15     trade dress infringement that may have occurred before May

   16     12, 2007.

   17                    11.11.   Statute of limitations:      State law

   18     unfair competition -- delayed discovery.

   19                    If the Broetje Parties prove that AHG's claimed

   20     harm occurred before May 12, 2007, AHG's lawsuit was still

   21     filed on time if AHG proves that before that date, AHG did

   22     not discover, and did not know of facts that would have

   23     caused a reasonable person to suspect, that it had suffered

   24     harm in the United States that was caused by someone's

   25     wrongful conduct.
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     1                   11.12.   Damages for intentional interference

     2    with prospective economic advantage:         Generally.

     3                   If you decide that AHG has proved its claim

     4    against the Broetje Parties, you also must decide how much

     5    money will reasonably compensate AHG for the harm.            This

     6    compensation is called damages.

     7                   The amount of damages must include an award for

     8    each item of harm that was caused by the Broetje Parties'

     9    wrongful conduct, even if the particular harm could not have

   10     been anticipated.

   11                    AHG does not have to prove the exact amount of

   12     damages that will provide reasonable compensation for the

   13     harm.    However, you must not speculate or guess in awarding

   14     damages.

   15                    The following are the specific items of damage

   16     claimed by AHG are:

   17                    1, lost profits; and

   18                    2.   Punitive damages.

   19                    11.13.   Damages For Intentional Interference

   20     With Prospective Economic Advantage - Compensatory Damages.

   21                    As compensatory damages, AHG claims lost profits

   22     that AHG allegedly would have earned but for Broetje's

   23     intentional interference with AHG's prospect ticket economic

   24     advantage with third party customers.         To recover damages

   25     for lost profits, AHG must prove it is reasonably certain
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     1    that it would have earned profits but-for Broetje's conduct.

     2                   To decide the amount of damages for lost

     3    profits, you must determine the gross amount AHG would have

     4    received but-for Broetje's conduct and then subtract from

     5    that amount the expenses AHG would have had if Broetje's

     6    conduct had not occurred.

     7                   The amount of lost profits need not be

     8    calculated with mathematical precision, but there must be a

     9    reasonable basis for computing the loss.

   10                    11.14.   Damages For Intentional Interference

   11     With Prospective Economic Advantage:         Punitive Damages.

   12                    If you decide that the Broetje Parties' conduct

   13     caused AHG harm, you must decide whether that conduct

   14     justifies an award of punitive damages.          The purposes of

   15     punitive damages are to punish a wrongdoer for the conduct

   16     that harmed the plaintiff and to discourage similar conduct

   17     in the future.

   18                    You may award punitive damages against the

   19     Broetje Parties only if AHG proves that the Broetje Parties

   20     engaged in intentional interference with prospective

   21     economic advantage; and that the Broetje Parties did so with

   22     malice, oppression, or fraud.        To do this, AHG must prove

   23     one of the following by clear and convincing evidence:

   24                    1.   That the conduct constituting malice,

   25     oppression, or fraud was committed by one or more officers,
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     1    directors, or managing agents of the Broetje Parties, who

     2    acted on behalf of the Broetje Parties; or

     3                   2.   That the conduct constituting malice,

     4    oppression, or fraud was authorized by one or more officers,

     5    directors, or managing agents of the Broetje Parties; or.

     6                   3.   That that one or more officers, directors,

     7    or managing agents of the Broetje Parties knew of the

     8    conduct constituting malice, oppression, or fraud and

     9    adopted or approved that conduct after it occurred.

   10                    "Malice" means that the Broetje Parties acted

   11     with intent to cause injury or that the Broetje Parties'

   12     conduct was despicable and was done with a willful and

   13     knowing disregard for AHG's rights.         A person acts with

   14     knowing disregard when he or she is aware of the probable

   15     harmful consequences of his or her conduct and deliberately

   16     fails to avoid those consequences.

   17                    "Oppression" means that the Broetje Parties'

   18     conduct was despicable and subjected AHG to cruel and unjust

   19     hardship in knowing disregard of AHG's rights.           "Despicable

   20     conduct" is conduct that is so vile, base, or contemptible

   21     that it would be looked down on and despised by reasonable

   22     people.    "Fraud" means that the Broetje Parties

   23     intentionally misrepresented or concealed a material fact

   24     and did so intending to harm AHG.

   25                    An employee is a "managing agent" if he or she
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     1    exercises substantial independent authority and judgment in

     2    his or her corporate decision-making such that his or her

     3    decisions ultimately determine corporate policy.

     4                   There is no fixed formula for determining the

     5    amount of punitive damages, and you are not required to

     6    award any punitive damages.        If you decide to award punitive

     7    damages, you should consider all of the following factors in

     8    determining the amount:

     9                   (a)   How reprehensible was the Broetje Parties'

   10     conduct?    In deciding how reprehensible the Broetje Parties'

   11     conduct was, you may consider, among other factors:

   12                    1.    Whether the Broetje Parties' conduct

   13     involved a pattern or practice; and

   14                    2.    Whether the Broetje Parties acted with

   15     trickery or deceit.

   16                    (b)   Is there a reasonable relationship between

   17     the amount of punitive of damages and AHG's harm?

   18                    (c)   In view of the Broetje Parties' financial

   19     condition, what amount is necessary to punish it and

   20     discourage future wrongful conduct?         You may not increase

   21     the punitive award above an amount that is otherwise

   22     appropriate merely because the Broetje Parties have

   23     substantial financial resources.        Any award you impose may

   24     not exceed the Broetje Parties' ability to pay.

   25                    Punitive damages may not be used to punish the
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                                                                           1118


     1    Broetje Parties for the impact of their alleged misconduct

     2    on persons other than AHG.

     3                   11.15.   A Statute of Limitations:       Intentional

     4    Interference With Prospective Economic Advantage.

     5                   The Broetje Parties contend that AHG's lawsuit

     6    was not filed within the time set by law.          To succeed on

     7    this defense, the Broetje Parties must prove that each of

     8    AHG's claimed harms occurred before May 12, 2007.

     9                   11.16.   Statute of Limitations:      Intentional

   10     Interference With Prospective Economic Advantage - Delayed

   11     Discovery.

   12                    If the Broetje Parties prove that AHG's claimed

   13     harm occurred before May 12, 2007, AHG's lawsuit was still

   14     filed on time if AHG proves that before that date, AHG did

   15     not discover, and did not know of facts that would have

   16     caused a reasonable person to suspect that it had suffered

   17     harm in the United States that was caused by someone's

   18     wrongful conduct.

   19                    Page 93.   11.17.    No Duplicative Damages -

   20     Nonpatent Damages.

   21                    AHG seeks damages from the Broetje Parties under

   22     more than one legal theory.        However, each item of damages,

   23     except punitive damages, may be awarded only once,

   24     regardless of the number of legal theories alleged.

   25                    You will be asked to decide whether the Broetje
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     1    Parties are liable to AHG under the following legal

     2    theories:

     3                   1.   Trade dress infringement;

     4                   2.   Federal law unfair competition;

     5                   3.   State law unfair competition;

     6                   4.   Intentional interference with prospective

     7    business advantage.

     8                   The following items of compensatory damages are

     9    recoverable only once whether under one or more of the

   10     foregoing:

   11                    1.   AHG's damages;

   12                    2.   The Broetje Parties' profit resulting from

   13     the infringement.

   14                    In other words, the total compensatory damages

   15     award for trade dress infringement, federal unfair

   16     competition, state law unfair competition, and intentional

   17     interference with prospective business advantage,

   18     individually or in any combination, cannot exceed the total

   19     of all of AHG's damages plus all of the Broetje Parties'

   20     profits.

   21                    Punitive damages, if you determine that AHG is

   22     entitled to them, should be awarded separately from the

   23     compensatory damages.

   24                    12.0.   Closing Statement - Damages.

   25                    The fact that I have instructed you regarding
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                                                                           1120


     1    damages should not be construed as suggesting which party is

     2    to prevail in this case.       Instructions regarding damages are

     3    given for your guidance in the event that the evidence leads

     4    you to find in favor of AHG.

     5                   13.0.   Foreign Law.

     6                   You have heard evidence about legal proceedings

     7    involving some of the parties to this lawsuit that have

     8    occurred and may be ongoing in France and Germany.            Be

     9    mindful, however, that the laws in France and Germany are

   10     different than the laws in the United States.           For example,

   11     the procedures for determining patent infringement and

   12     patent invalidity are different in France and Germany than

   13     they are in the United States.        Additionally, the patents

   14     at issue in France and Germany are not the same patents at

   15     issue in this case.

   16                    The evidence of foreign legal proceedings was

   17     introduced to provide you background as to the parties'

   18     relationship.     You might also find this evidence to be

   19     relevant to Broetje's knowledge of the patents in suit and

   20     intent, which you may find to be relevant to AHG's claims

   21     for induced infringement, contributory infringement, and

   22     willful infringement.

   23                    Similarly, be mindful that any foreign decision

   24     with respect to trade dress infringement or the contractual

   25     relationship between the parties was also not based on
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     1    United States law and AHG is not asserting a breach of

     2    contract claim here.      Although the foreign decisions may

     3    provide you with helpful background information, your duty

     4    with respect to all of the issues before you is to apply the

     5    law as I have instructed you to the facts as you find them

     6    based solely on the evidence presented here in court.

     7                   That's all I'm going to read to you for now.

     8    I'm going to save the last few pages to read after you hear

     9    closing argument.      And because of the time allotted for

   10     closing argument, it makes the most sense to give you a very

   11     short break now.      This will be hopefully your last break.

   12     It will be your morning break.        No talking about the case

   13     yet.    When we get you back here shortly, we will hear

   14     closing arguments.

   15                    (Jury left courtroom.)

   16                    THE COURT:    All right.    We will be checking in

   17     with the jury in approximately 10 minutes.          And if they're

   18     ready to go, we'll be back in.        We will be in recess.

   19                    (Brief recess taken.)

   20                    *      *      *

   21                    (Proceedings reconvened after recess.)

   22                    THE COURT:    All right.    The jury is ready.     We

   23     will give each side a ten minute and two minute warning, if

   24     you get to that point on your time limit.

   25                    We'll bring the jury in.
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                                                                           1122


     1                   (Jury returned.)

     2                   THE COURT:    All right.    Ladies and gentlemen,

     3    I'll now call on AHG for closing argument.          Mr. Lindvall.

     4                   MR. LINDVALL:    Thank you, Your Honor.

     5                   First, I want to sincerely thank you for

     6    spending a week with us.       I know you had a lot better things

     7    to do than spend it here in the courtroom, but I know my

     8    client, clients, and I know Mr. Bornes appreciates your

     9    service.    It gives them their day in court, so to speak.

   10                    Before I begin talking about what I will, what I

   11     want you to understand, you are going to hear a lot of

   12     attorney argument.      You are going to hear it from me, and

   13     you are going to hear it from my opponent.          As the Judge has

   14     instructed you, attorney argument is just that, it is not

   15     evidence.

   16                    What you are supposed to do is look at the

   17     evidence.    I want you to look at the documents and the trial

   18     testimony that I'm going to show you today.          And when you

   19     see the trial testimony and the documents, I am sure you

   20     will be convinced that not only did Broetje infringe the

   21     patents, infringe the trade dress in this situation, but

   22     they did it with malice.       They did it willfully and

   23     intentional.     And I'm going to show you evidence.        I'm not

   24     just going to tell you this.        I'm going to show you

   25     documents and testimony we pulled from the trial transcript
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                                                                           1123


     1    to show you we proved our case.

     2                   What I will do, as we go through, I will point

     3    out to you certain of the exhibit numbers because when you

     4    go back to the juryroom, you will have the exhibits,

     5    including even these cassettes, and you will be able to look

     6    at these in the juryroom.

     7                   Okay.   The first part, like I just said.        This

     8    case, just like I said in my opening statement, this case is

     9    about deliberate copying.       And it's almost there is no

   10     dispute about that.      Now, they may try to take the position

   11     that we copied them.      We think such a position, of course,

   12     is outrageous that they possibly think we copied them.

   13                    But anyway, we have some very clear documents

   14     they copied us on this.       I really don't think that is an

   15     issue that can be disputed here.

   16                    As you can see, we have the cassettes, which you

   17     have seen over and over again, and you can see the tube

   18     profile of both pentagons.

   19                    They could have picked a multitude of shapes

   20     other than a pentagon shape but they didn't.           Why?   Because

   21     we already optimized it.       We already figured out the

   22     pentagon was the best shape, as Mr. Bornes testified that

   23     he spent several years coming up with this invention and

   24     optimize it to where the pentagon shape is the best shape.

   25                    The other aspect is the willful infringement of
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                                                                           1124


     1    AHG's patent.     They had known about our patent, and we'll

     2    show you this, or existence of foreign patents at least

     3    since the signing of the contract back in 1994.           And

     4    Dr. Budach did not give a written opinion, if we can call

     5    it an opinion, we'll talk about that later, until 2005.            So

     6    you can count how many years went by without any opinion

     7    whatsoever.

     8                   Now, they didn't start their own development

     9    until 2003 but they still waited several years until we

   10     raised the issue in the German litigation and then they went

   11     out and got an opinion.       Again, that is something to talk

   12     about later on.

   13                    All right.    Let's briefly go to what was their

   14     state of mind at the time?       Can you go to the next slide,

   15     please?

   16                    This kind of says it all.      This is Dr. Budach's

   17     opinion.    This is DTX-1605.      That is the exhibit number.

   18     And Dr. Budach's opinion is at the very end, and you can

   19     pick up the opinion and read it yourself.

   20                    They have an option here.      We don't know whether

   21     they took the option or not, but they have an option here.

   22     Their policy is not we will never infringe a patent, their

   23     policy is we will infringe a patent if we get internal

   24     management approval.      And all that takes is to discuss

   25     briefly by phone beforehand, whether that is even necessary
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                                                                           1125


     1    here.

     2                   Do you believe Dr. Budach whether they did that

     3    or not?    I don't know.     That is for you to decide.       But he

     4    makes it clear we think within CLAAS and within Broetje they

     5    had the option to infringe deliberately.          And all it took

     6    was a brief phone call to CLAAS's internal management.

     7                   So that kind of sets the stage, the state of

     8    mind how Broetje thinks and what they would allow to happen

     9    back in this time frame.

   10                    Now, let's go to PDTX-204, please.

   11                    It kind of all starts -- and what I'm going to

   12     do is give you kind of a highlight first and I will go back

   13     to my timeline I used in my opening statement.           It starts in

   14     2002.

   15                    And can we put up JTX-66, please?

   16                    And I know you have seen this e-mail over and

   17     over again.     This is the e-mail.     JTX-66 is the e-mail from

   18     Mr. Maylander, and it's dated June 18, 2002.

   19                    And the subject is:     Our meeting from last week.

   20                    Dear Mr. Bornes,

   21                    I have informed Mr. Holtmeier -- remember he was

   22     the general manager, like the CEO of Broetje at the time --

   23     about your activities at Gemcor.

   24                    Let's talk about that again.       You heard a lot

   25     about this now.     What happened was Mr. Bornes, for whatever
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     1    reason, felt obligated to act in good faith.           He went up

     2    to Mr. Maylander and said, AHG is now considering selling

     3    to Gemcor.     He didn't have an obligation to tell that to

     4    Mr. Maylander but he did it.        He felt that was the way you

     5    conduct business.

     6                   If I'm going to sell to one of the competitors,

     7    I'm going to tell them just so they have some notice.

     8                   Obviously, you see how the reaction is.         The

     9    reaction is they were extremely disappointed and very

   10     unhappy that they were going to deal with Broetje's main

   11     competitor.

   12                    It kind of set the stage.      Broetje was upset now

   13     that AHG was going to do this.        Again, Mr. Bornes is not

   14     concealing any facts here.       He told them in a meeting that

   15     we're going to deal with Gemcor.        You recall from the

   16     contract we were perfectly within our rights to do that.

   17     We're going to sell to some other companies.           What is wrong

   18     with that?

   19                    Okay.   So let's go to PDTX-207.

   20                    So 2002.   So what happens?      About a little less

   21     than a year comes by and internally they make a decision.

   22     And this document I think is a real very key document in

   23     this case.     It's JTX-14.

   24                    This is the copy document.       This is the document

   25     where internally they took our cassette, a rack, our loading
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                                                                           1127


     1    station.    There are photographs all over it in there,

     2    including detailed photographs.        And that is where they did

     3    the development, they actual copied our product, and you can

     4    pick that exhibit up yourself and you will see it, and you

     5    will see all kinds of photos in there, and you will see the

     6    testimony later on where he said that is the only example

     7    they used.     And lo and behold, you say see what came out is

     8    basically an exact replica of what they have done.            So that

     9    is what they did.

   10                    Now, did they tell Mr. Bornes that they were

   11     going to do this?      No.   There is no testimony whatsoever in

   12     the record that they ever told Mr. Bornes, you know what?

   13     If you're going to deal with Gemcor, we're going to develop

   14     our own cassette.      They kept it quiet instead of saying they

   15     were going to develop their own.        There is no testimony

   16     whatsoever.

   17                    So the title of this document, and that's by

   18     testimony, is Development of Innovative Rivet Feeding

   19     Technique.     That's the title of the whole thing.        That's an

   20     internal document again.

   21                    If we can turn to the next page, please.

   22                    Here is some trial testimony.       What I'm going to

   23     do today is show you trial testimony.         This is actually from

   24     the testimony transcript, and you see I actually cite to the

   25     transcript.     Obviously, you don't remember everything but we
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     1    tried to pull out snippets so you can see the impact.

     2                   And this is a Broetje employee, Mr. Neugebauer.

     3                   And I said:

     4                   "Question:    Let's look at page 19 of this

     5    document."

     6                   This document here.

     7                   "Answer:     That is an AHG cassette as an

     8    example."

     9                   That's what he answers.      Used as an example.

   10                    "Question:    You said AHG cassettes is in there.

   11     There is no other example in this complete development

   12     document other than an AHG as an example.          Correct?

   13                    "Answer:     Yes."

   14                    In other words, you pick this document up, the

   15     only thing you see in there is basically detailed study of

   16     AHG's product, and they're taking it and looking at it and

   17     figuring out how to copy this.

   18                    Turn to the next slide, please.

   19                    Now here is the trial testimony from Dr. Peters

   20     who is the chief operating officer of the company.

   21                    And he says:

   22                    "Question:    Do you know why this -- AHG's rivet

   23     cassette is being shown in Broetje's internal documentation

   24     relating to its development of its own cassette?

   25                    "Answer:     Because it's an example of the rivet
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     1    cassette.

     2                   "Question:    And why would there be an example of

     3    a rivet cassette shown?

     4                   "Answer:     Because you want to develop your own

     5    system.    Because we wanted to develop our own system."

     6                   In other words, they didn't go from scratch and

     7    say you know what?      There is a lot of faults with our

     8    product.    It's no good.     We don't like it.     It's not

     9    technically feasible.       There are lots of problems.        Let's

   10     start and develop our own system.

   11                    If there are all these faults with this cassette

   12     like they said there are, why did they copy it?           Why did

   13     they use this as an example.        You would think that with all

   14     these fault reports, they would say no, forget about theirs.

   15     Let's start from scratch.       We're great engineers.      We don't

   16     need to use theirs as an example because we know it doesn't

   17     work.    That's according to their testimony.        So let's start

   18     with a whole different system.

   19                    You see companies like ElectroImpact had come up

   20     with a system, and they claimed that it's even working by

   21     now.    We dispute that, but they could have come up with

   22     their own unique design.

   23                    In fact, their cassette was so close to ours,

   24     they could take their cassette that they designed from the

   25     internal documents and stick it in our racks and it would
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     1    work.    In fact, that's what you see in factories even today:

     2    their cassette in our racks.        That is how closely they

     3    copied, the dimensions and everything else.

     4                   And the last part.     Dr. Peters again.

     5                   "Question:    And in developing your own system,

     6    you used as an example of developing your own system AHG's

     7    own product; correct?

     8                   "Answer:     Yes."

     9                   So it's undisputed, once this document was shown

   10     to them, that they copied it.        They used it as an example.

   11                    There wasn't one time that they put a witness up

   12     in the last four days to explain this document.           You never

   13     saw one of their witnesses come up and explain this

   14     document.     The only time you saw this document arise is when

   15     we cross-examined them on it.        They ran away from this

   16     document, and there is a reason for that.

   17                    Now, let's go back to PTX-205, please, Jeff.

   18                    Pardon me.

   19                    This is a point that is extremely important in

   20     this case.     You heard the Judge's instructions about

   21     punitive damages and intentional concealment and malice.

   22     This is where it is.      This is a very important point to

   23     understand.

   24                    This is PTX-657.     This is the e-mail.

   25                    If you could pull up the actual e-mail.         I like
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                                                                           1131


     1    to show the actual evidence instead of slides because

     2    sometimes slides can be tricky on this.          But this is the

     3    actual e-mail.     And this is the part of the e-mail with the

     4    "PS."    This is from Mr. Neugebauer again.        And this is

     5    dated, if my French is right, July 2003.

     6                   And this is the part right here (indicating).

     7                   Now, remember the internal document, we showed

     8    the copy document, I call it, JTX-14?         That is dated in June

     9    of 2003.    So they had already created that document, made a

   10     decision.    They had already made a decision to create their

   11     own cassette and their own rack and loading system.            They

   12     already made the decision in June 2003.          Okay?   So that

   13     decision has been made.       The ship sailed on that one.

   14                    But a month later, an e-mail was sent to

   15     Phillippe Bornes saying:       Just between you and me, the

   16     company is very, very deeply "unsatisfied" concerning to the

   17     situation with Gemcor.

   18                    Again, like Mr. Maylander's e-mail:        Why are you

   19     dealing with our main competitor?         Because they realize this

   20     AHG cassette system is going to give Gemcor not only, well,

   21     maybe an advantage but it will put them on the same par in

   22     the competition between Boeing and what have you for their

   23     systems because then Gemcor can say, well, we have the AHG

   24     system also, so Broetje doesn't have that extra edge over

   25     Gemcor.    Obviously, Broetje does not want Gemcor to have
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     1    that edge.

     2                   So just between you and me, the company is very,

     3    very deeply "unsatisfied" concerning to the situation with

     4    Gemcor.    There are several discussions in-house, also with

     5    our mother company" -- that is CLAAS, if you remember --

     6    "how to react on that obstacle."

     7                   Well, guess what?     They had already figured out

     8    how to react.     They started development a month earlier.

     9    Remember, I questioned Mr. Neugebauer and I told him that is

   10     not the truth, is it?       And he admitted it was an untruth.

   11     And I will show you the testimony, the actual testimony.

   12     And he says he does untruths like this to pressure people.

   13     He is trying to pressure Mr. Bornes.

   14                    Did he tell Mr. Bornes in this e-mail, oh, by

   15     the way, we already made a decision a month ago we already

   16     started development of our cassette?         No.   He didn't tell

   17     Mr. Bornes anything.

   18                    Mr. Bornes was up front.      He was very candid.

   19     He said you know what?       We're going to deal with Gemcor.

   20     I'm going to give you a heads up.         What do they do?     You can

   21     see right here.

   22                    So what they're doing, they're basically telling

   23     Mr. Bornes quit dealing with Gemcor, and behind his back

   24     what are they doing?      They're developing their own cassette.

   25     What do they gain out of that?        A huge advantage.     They
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     1    concealed the fact from Mr. Bornes that they are developing

     2    their own cassette that gives them a business advantage --

     3    a huge business advantage because that means AHG says,

     4    okay, well, we'll stay with you, Broetje, and we won't

     5    sell to Gemcor.     And, sure enough, behind his back they're

     6    developing a cassette.       Once they come out with the

     7    cassette, AHG is stuck with nothing.         That is exactly what

     8    they wanted basically.

     9                   So now Broetje has got a fully developed system,

   10     AHG doesn't have any customers, and that is it.           So there is

   11     no more AHG.     Gemcor won't have AHG but there is Broetje and

   12     they have their own system.

   13                    The only way you can explain this is because

   14     he was the program manager who testified he was part of

   15     that team developing the cassette, and a month after the

   16     development document came out, he is trying to tell Mr.

   17     Bornes we haven't made a decision but we are very upset.

   18     They had already made a decision.

   19                    And it says right here.      It says:    "It seems to

   20     be that there is the possibility that we will quit the

   21     relationship with you."

   22                    There is not a possibility.       They have already

   23     decided.    That is a lie.

   24                    "You should really think about a possible

   25     solution."
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     1                   In other words, he is saying stay with us, wink

     2    wink.    Forget about Gemcor, say you can't work with them and

     3    we'll continue to develop.       It's a pretty good track record.

     4    It's very deceitful.       Very deceitful.

     5                   Let's go to the next slide of PDTX-206, please.

     6                   Here is some trial testimony from Mr.         Neugebauer.

     7    Again, I'm trying to show you just evidence, not just fancy

     8    slides.

     9                   "Question:    So you are basically telling

   10     Mr. Bornes you better quit selling to Gemcor or we are going

   11     to make our own cassette or we are going to do something

   12     else.    Correct?

   13                    "Answer:     In principle, yes, that's right."

   14                    So he is telling him quit dealing with Gemcor or

   15     else.    We all know.     They weren't designing their own thing.

   16                    Now, the interesting thing about his whole

   17     testimony, he doesn't say -- well, what is interesting is

   18     they brought up these fault reports.         You remember these

   19     things, that they called our product, you know, get rid of

   20     our product, it's got all these faults.

   21                    Why are they playing these games with us?         Why

   22     they don't they say:       Mr. Bornes, you don't have a good

   23     product.    We don't want your product anymore.         Sell it to

   24     Gemcor.    In fact, that will give us a tactical advantage

   25     because there are so many faults with this cassette, if you
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     1    give it to Gemcor, then Gemcor, they'll have to deal with

     2    it then and we'll have the business.

     3                   No, they weren't doing that.        They knew there an

     4    advantage of having the AHG system.

     5                   If I was in business and I wanted to destroy the

     6    other side, to do damage to another competitor and I knew a

     7    product I could get them to start buying, it's no good, that

     8    would be the perfect solution.        So I would promote them to

     9    sell it to Gemcor if it was such an inferior product as they

   10     claim.

   11                    Now, let's turn to PDX-211.

   12                    Now, here is another document I wanted you to

   13     see.    This document is JTX-8.      And that is the source.

   14     JTX-8.    If you can pull up the document again.         Pull up the

   15     document, please.      JTX-8.

   16                    Okay.   The testimony was this is a presentation

   17     to customers.     So when they go to customers, this is a

   18     document they use for presenting to customers and describing

   19     the product.

   20                    And if we go to the last page.

   21                    Do you see what they have here?       There is

   22     testimony, and everybody realized that is an AHG cassette.

   23     Where is the logo?

   24                    They take the logo out.      Why?   Because obviously

   25     they want to conceal the AHG.        This is a presentation to the
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     1    customers.

     2                   If we could go back a slide, please.

     3                   And you see here the trial testimony of the

     4    President of Broetje USA.       It says:

     5                   "Question:    That's an AHG and F2C2 cassette, is

     6    it not.

     7                   "Answer:     Yes, it is.

     8                   And he is pointing to the cassette I just showed

     9    you.

   10                    "Question:    In this presentation, you whited out

   11     or somebody whited out AHG/F2C2, did they not?

   12                    "Answer:     I can't speak to whether or not it was

   13     whited out or not."

   14                    He can see it was whited out.

   15                    "Question:    Well, you don't see it in the

   16     picture, do you?

   17                    "Answer:     No, I don't see it in the picture."

   18                    You are going to see this theme through this

   19     testimony.     I'm going to show you more testimony where they

   20     basically try not to -- they don't want to admit anything

   21     but they can't address a lot of these different situations.

   22     It's kind of like the copy document where they never put a

   23     witness up there to explain that document.

   24                    Excuse me.    (Taking a sip of water.)

   25                    Okay.   Let's go to PDX-212, please.
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                                                                           1137


     1                   Now, I'm not going to make a big deal about the

     2    French court decision and German court decision.           I know my

     3    opponent may or may not.       But there is one interesting

     4    relevancy about this.       Okay?   And the reason why we bring it

     5    up is because of this (picking up Broetje red cassette).

     6    And that is really why we are bringing it up.           We're not

     7    saying that you should follow the French court and say that

     8    is the law.     You heard the Judge instruct you that French

     9    law and German law are different than U.S. law.           And nobody

   10     disputes that in this courtroom.

   11                    What the relevancy about this aspect goes to

   12     this intent.     Okay?   Once they develop their own system,

   13     they continued to make it look like ours (picking up AHG

   14     chrome cassette).

   15                    Same handle, exact same handle, same chrome

   16     color, some small differences, we have a clearer side, but

   17     they're really insignificant when you look at them.            What

   18     could they have done all along if they wanted to not confuse

   19     anybody out here?      They could have done this (picking up

   20     Broetje red cassette).

   21                    In fact, you will see Dr. Peters.        In a minute I

   22     will show his testimony.       He says there is no functional

   23     change.    He says this cassette operates just like their old

   24     one.    The only changes are nonfunctional changes.         That

   25     means the color, the metal, the handle shape, the color of
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     1    the handle, all of this.

     2                   The window now is smaller.       Prominent display of

     3    their logo.     It looks different now.      This doesn't infringe.

     4    I agree it doesn't infringe.        We don't take a position this

     5    infringes.

     6                   Why didn't they do this when they first

     7    developed it?     And then, you know, no one could possibly be

     8    confused.     Everybody would say, oh, that is definitely a

     9    Broetje product because it looks a lot different than AHG.

   10     But they waited until 2000 -- well, it's still even not out

   11     today.    It's going to be out any day according to their

   12     testimony but they waited until just recently to do this,

   13     and it took AHG and F2C2 all these resources and go to

   14     France, come here, wherever they have to go, to try to

   15     enforce their rights and make it right from a wrong.

   16                    Okay.   Let's go quickly to the timeline.

   17                    PDTX-274, please, Jeff.

   18                    Okay.   Remember this timeline from my opening

   19     statement?     And I want to briefly kind of go over the

   20     timeline from here.

   21                    You recall that Mr. Bornes in 1986 and his

   22     father-in-law Jean-Marc worked for about approximately a

   23     couple years to develop their invention here, which is how

   24     to dispense and store many, many, many rivets, and they

   25     were solving an age old problem about avoiding getting
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     1    foreign material in these big vibrating bowls which I will

     2    show you in a minute.       And it took them awhile.

     3                   They didn't work 24/7 on it, but they worked

     4    hard to get a solution because there hadn't been a

     5    successful solution up to that point in time, and they did

     6    get a successful solution, and they ultimately were issued

     7    two U.S. patents which were the '216 and '339 patents.

     8                   But now we go to the 1994 and Broetje and AHG

     9    enter into a contract.       You recall once we got these

   10     patents, there a beginning of a to-and-fro from Broetje and

   11     AHG.    Broetje wanted to use our system.        We went back and

   12     forth negotiating.      We finally came to an agreement in the

   13     contract, and the contract is between Broetje and AHG.

   14                    Now, recall that AHG themselves, just to put

   15     them in context.      AHG is a small family-owned company and

   16     F2C2 is a wholly owned subsidiary of AHG.          The testimony of

   17     Mr. Bornes was it had four or five employees at the time.

   18     Very small, family-owned business.         Very successful in what

   19     they were doing.

   20                    Now, if we could go to PTDX-214, please.

   21                    The problem they were solving is we had these

   22     big vibrator bowls.      This one was hooked up to a loading

   23     machine, but they had these standalones in the factories,

   24     but what would happen is with foreign materials or rivets

   25     that weren't supposed to belong in there, racks, that they
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     1    found their way in there, and they went right up into the

     2    rivet machine and jammed the rivet machine or caused some

     3    problem and shut down the production and it costs a lot of

     4    money.     You heard testimony about that.       And that was a

     5    problem so you had to avoid that.

     6                   What they did to avoid that is that created a

     7    situation where you could have a cassette like this

     8    (indicating) with tubes in it and put lots of rivets in it.

     9    But when they did that originally with the tube, we had

   10     jamming.    So they spent time trying to figure out how

   11     they're going to get all these rivets, thousands of these

   12     rivets in tubes to move through with compressed air without

   13     jamming.

   14                    It seems, you know, hindsight is always 20/20,

   15     but at the time it was a difficult situation, it was a

   16     difficult problem.      They came up with this solution that

   17     talked about the grooves, and they came up with the pentagon

   18     solution.

   19                    It was such a good solution that Broetje thought

   20     it was a good a solution and they adopted the pentagon

   21     shape.     You didn't see them come up with an octagon or

   22     triangle shape.     No, they used the pentagon shape because

   23     they knew that that was the optimal shape because AHG had

   24     already put in the blood, sweat and tears to come up with

   25     that.
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     1                   Let's go to the next.

     2                   Here is the tube shape that AHG developed.

     3                   The next slide, please.

     4                   And here is the patents issued to Mr. Bornes and

     5    his father in law, Jean-Marc.

     6                   The next slide.

     7                   You see lots and lots of these, but just to

     8    remind you, the cassette is loaded by the loading station,

     9    and then the cassette is put into the rack, and then the

   10     rack is delivered to the machine.         They all operate together

   11     as a functional unit.

   12                    This is what you heard about the Judge talking

   13     about convoyed sales and damages.         You don't sell these

   14     things.    You don't go out and say, hey, you want a loading

   15     station?    No.   Because the loading machine is made for the

   16     AHG cassette.     The AHG cassette is made for this rack.

   17     These are all sold together as a unit.          That is why in the

   18     damages area, we are asking for sales of losses of the whole

   19     system rather than just the whole cassette, because you

   20     can't separate the two.

   21                    Now, if we can go to the next slide, please.

   22                    Now, this is PTX-385T.

   23                    Now, what this is, for some reason, again, it's

   24     kind of hard for us to believe, but they're taking the

   25     position that they gave us lots of information to help
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     1    develop this.     Well, you know we already developed it when

     2    they contracted with us.       In fact, that is why they entered

     3    the contract is because they wanted our system.

     4                   And then right from the get-go, Mr. Holtmeier

     5    who is like the CEO of Broetje says:         With the signing of

     6    the contract, please let us have more detailed technical

     7    information.

     8                   So right from the get-go, they wanted to

     9    understand how our system worked and operated.

   10                    And with the contract, we were able to do that,

   11     because we were protected under the contract.

   12                    Excuse me.    (Taking a sip of water.)

   13                    If we go to the next slide, please.

   14                    So the first thing we tell them, we just remind

   15     them it's subject to patent protection.          Again, this is

   16     1994.    We're telling them we're getting a patent.         A common

   17     type of thing to do.

   18                    Next slide, please.

   19                    And the interesting thing, there is a clause in

   20     this contract.     This says:    Broetje agrees to promote the

   21     sales of the AHG feed systems in the most loyal, serious,

   22     and efficient way possible.

   23                    They're agreeing to be loyal to them.         Broetje

   24     is going to be loyal to AHG.

   25                    Now, we already know, we kind of -- I'm going to
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     1    give you a head up on that.        There is no loyalty here.

     2                   Now, I'm not saying, we're not talking about

     3    breach of contract.      Again, you heard the Judge's instruction.

     4    And you are not here to determine whether there is a breach of

     5    contract or not, but you can understand it is a lot of their

     6    intent.    This is an obligation they signed up to:         To be

     7    loyal.    Okay?

     8                   Now, there is a technicality they may bring to

     9    your point that a French court said, well, it wasn't a

   10     contract with F2C2.      And they're right, the French court

   11     said, no, this is a contract with AHG, not F2C2.           So they're

   12     technically no longer applied to F2C2, but it depends on

   13     what kind of businesspeople they are.         Are they really --

   14                    You heard Mr. Neugebauer said I always thought

   15     they were one company.       So why didn't you operate under the

   16     obligations that Mr. Holtmeier signed to?          This is something

   17     for you to consider when you are thinking about intent here.

   18                    If you go to the next slide, please.

   19                    This, right here, this is again in the contract:

   20     Broetje agrees not to sell directly or indirectly feed

   21     systems with identical or similar tubes.

   22                    Again, it's an obligation they're signing up to.

   23     Of course, we know now that they do do that.

   24                    In addition, the dealer -- which is Broetje --

   25     agrees not to use, directly or indirectly, such documents
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     1    and information after the expiration of this contract.

     2                   In other words, they're not going to use our

     3    information after the contract is terminated.

     4                   So, in other words, they won't do JTX-14, the

     5    copy document.     They're not going to do that.        They're not

     6    going to use our information.        They are not going to take

     7    pictures or use our device.        They agreed not to do it,

     8    although they do do it.       We know they do it.

     9                   Next slide, please.

   10                    Now, about the technical information.         Where did

   11     the technical information come?        We know Mr. Bornes was the

   12     inventor, co-founder of F2C2, and developed this system.

   13     And his testimony.

   14                    "Question:    Okay.   What kind of information did

   15     Broetje request all the time?

   16                    "Answer:     They requested all they need to make

   17     sure the system is working and including drawings,

   18     schematics, everything they need to know exactly what was

   19     our testimony.

   20                    "Question:    Why did you give it to Broetje if it

   21     was proprietary to AHG?

   22                    "Answer:     It was in our agreement in 1994.      I

   23     was protected from that."

   24                    He trusted Broetje.     He gave all the technical

   25     information they asked for.        They may have made some
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     1    suggestions.     We're not denying that.      In fact, a lot of the

     2    suggestions, Mr. Bornes thought about and sometimes have a

     3    solution, sometimes not.       We don't deny there were some

     4    tweaks on the system, maybe, but they didn't create the

     5    system.    The system was already there.        The whole invention

     6    was already there.      The pentagon was already there.

     7                   If we can go to the next slide, please.

     8                   Here is another one, PTX-118, where Broetje

     9    again is asking:      Please give us more detailed information

   10     (drawings, photos).

   11                    And this is in 1994 we gave them that information.

   12                    If we go to the next.

   13                    Again, what I told you about, I'm going to keep

   14     showing you testimony.       Your job is to weigh the evidence

   15     not, what I say or don't say.        My attorney argument is not

   16     supposed to come back with evidence on.          You look at the

   17     documents, look at the testimony.         Here is some more

   18     testimony.

   19                    Trial testimony of Mr. Maylander:

   20                    "Answer:   I got information from Mr. Bornes,

   21     that he informed me that they are also going to work

   22     together with our competitor, Gemcor."

   23                    Back up for a second.      After we decided to give

   24     them technical information -- this is when we're going back

   25     to, we're going back in more detail.         We're going back in
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     1    the time frame, we're going back in 2002.          We're going to

     2    revisit of the time frame I talked about earlier, and this

     3    is where I'm talking about Mr. Bornes being up front with

     4    Broetje; and you can see here that:         Mr. Bornes informed

     5    me that they are also going to work together with our

     6    competitor, Gemcor.

     7                   Again, Mr. Bornes, you know the type of person

     8    is, informed them I'm going to do some work with Gemcor.

     9    You know, give me some feedback.        What do you think?      He was

   10     upfront.    Very candid.

   11                    The same thing with Mr. Neugebauer:

   12                    "Answer:    So that Phillippe has explained to

   13     Maylander and to myself that they want to in principle sell

   14     the technology to our heaviest competitor."

   15                    It's interesting because Mr. Bornes hadn't even

   16     sold anything to Gemcor.       He is basically going to Broetje

   17     and says, look, guys.       This is what I'm going to do.       You

   18     have been my partner for many years.         We can sell outside of

   19     Germany, the contract is, but I'm going to tell you upfront

   20     and get your feedback.       And, boy, did he get feedback.       You

   21     saw what happened.      We'll go into that in a minute.

   22                    Excuse me. (Taking a sip of water.)

   23                    Next slide, please.

   24                    So I'm not going to go back through this.         This

   25     is the JTX-66 where Mr. Maylander again confirms that he
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     1    told them that.

     2                   Let's go to the next one, please.

     3                   And the next slide, please.

     4                   And here is the e-mail from Mr. Neugebauer which

     5    I talked about.     Again, this is the e-mail that came out

     6    after they had already made a decision to start developing

     7    and already created the copy document, JTX-14.           So the

     8    decision has already been made even though he indicates that

     9    it hasn't been made.      He says there is a possibility that we

   10     will quit the relationship.

   11                    That is not true.     And he admitted on the stand

   12     it wasn't true.     He said he was just trying to pressure Mr.

   13     Bornes.    He was trying to pressure Mr. Bornes to quit working

   14     with the competitor Gemcor while they were developing their

   15     own behind their back.

   16                    Turn to the next slide, please.

   17                    Now, here is the trial testimony of Mr. Neugebauer.

   18     And this is when I was questioning him about that e-mail and

   19     ask him whether he is being truthful in that e-mail to Mr.

   20     Bornes.

   21                    "Question:    And do you typically do that in

   22     e-mails and letters, where you say something that is

   23     actually not true?

   24                    "Answer:     Not really.

   25                    "Question:    But you did though this time,
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     1    though.    Yes?

     2                   "Answer:     To put him under pressure, yes."

     3                   He admitted he lied to Mr. Bornes.        Do not do

     4    any work to Gemcor.       Don't sell your system to Gemcor.

     5                   But did he tell him, oh, by the way, we're

     6    making our own system.       We're not going to deal with you in

     7    a couple more months?       No, he just didn't want to deal with

     8    Gemcor.    At the same time, behind his back, Mr. Bornes'

     9    back, they were developing their system.

   10                    "Question:    To put someone under pressure, you

   11     might put an untruth there?"

   12                    He agreed:

   13                    "Answer:     To put him under pressure."

   14                    Mr. Neugebauer lied to achieve something.         Now,

   15     he was the program manager for the whole system and the

   16     whole thing there.

   17                    What about the trial testimony of Mr. Maylander?

   18     So we asked him:

   19                    "Question:    So AHG was perfectly within their

   20     bounds to sell to Gemcor, who was located in the United

   21     States.    Correct?

   22                    "Answer:     That's what I understand, yes."

   23                    So Mr. Bornes, he was within his bounds.         Not

   24     only did he tell him, but he was perfectly within his

   25     bounds.    AHG never had any obligation from Mr. Bornes not
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     1    to sell to competitors in another country.          He won't sell to

     2    competitors in Germany.       So the next slide, please.

     3                   Okay.   So as I said, we beat this document to

     4    death.    I'm not going to go back through it again.          This is

     5    the copy document.

     6                   The next slide, please.

     7                   Now, let's fast forward into 2003.        Well, it

     8    was 2003 when they start developing their own cassette, June

     9    2003.    So they obviously know if they're copying something

   10     they had better be careful and see that they don't get

   11     themselves in trouble or at least keep it down or concealed

   12     so that AHG can't find out anything.

   13                    So they go to Mr. Budach and they ask about

   14     infringement.     Well, ultimately, Mr. Budach says it must be

   15     specified in greater detail in order to be able to rule out

   16     an infringement.

   17                    Mr. Budach did not come up with any opinion in

   18     2003 whether there is infringement or not.          In fact, there

   19     maybe a concern there was infringement, studying our system.

   20     Again, this is after they already started developing their

   21     own system.

   22                    So there is no opinion now.       This is still 2003.

   23     Remember, they learned about our patent in 1994.           So we go

   24     from 1994 to 2003, still no opinion.

   25                    So let's go to the next slide, please.
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     1                   And here is the trial testimony from Dr. Budach.

     2                   "Question:    Are you saying that you didn't

     3    consult with United States lawyers?         You didn't have the

     4    ability to do that in 2003?        That wasn't something you did?

     5                   "Answer:     (Through translator)    I am talking

     6    with regards to this case.       We do not use the advice,

     7    separate advice of U.S. patent attorney."

     8                   CLAAS and Dr. Budach made a decision not to go

     9    outside to U.S. attorneys and get independent advice.

   10     Dr. Budach is an employee of CLAAS.         Broetje was owned by

   11     CLAAS.    It was within the company.       He was given the advice.

   12     Whether we call that impartial advice or not, I don't know.

   13     It's more maybe let's try to figure out advice and a way to

   14     do things where we don't get caught.         That is something for

   15     you to decide.

   16                    Let's go to the next slide, please.

   17                    The other thing, you probably remember that

   18     Dr. Budach had that demonstrative they had up there with

   19     the Shinjo reference and three big photos and he got

   20     cross-examined on them.       You won't see that and it won't be

   21     part of the evidence, but he kept talking about the Shinjo

   22     reference.

   23                    And you heard Mr. Lawrence, their expert, talk

   24     about it.    What you will see, he admits that in his 2003

   25     report, we said in there, there is no cite to the Shinjo
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     1    reference.     And we will show you in this 2005 e-mail

     2    opinion, which he calls an opinion, there is no citation

     3    reference to Shinjo.      That whole slide they showed you

     4    about his thing about Shinjo was a conceived, you know,

     5    the-night-before-testimony type of situation.

     6                   So we have already talked about they copied it.

     7    They used JTX-14, the development document, that they

     8    actually copied it and the situation we have here.

     9                   If we go to the next slide, please.

   10                    And the interesting thing, this doesn't show up

   11     unfortunately very well on this slide, but in 2005, and you

   12     heard the Judge's instruction, just because there is a label

   13     on there doesn't mean there is not a trade dress

   14     infringement.     That doesn't get you out.

   15                    All of you, I'm sure in your own common

   16     experiences, understand.       I was thinking of an iPhone.

   17     iPhone is made by a different company.          It's made in China

   18     by another company.      It has Apple things on it but that

   19     doesn't necessarily mean that is who manufactures it.

   20                    Just because you have AHG or Broetje or you have

   21     Broetje on there, a customer isn't going to automatically

   22     think because it says Broetje on there that this is not

   23     manufactured by AHG, because AHG may have given them

   24     permission to put their logo on there.

   25                    The customer may look and say that is an AHG
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     1    cassette.     Broetje put their name on there because they have

     2    the whole system and they got some deal together.           Who

     3    knows.     That is pure speculation on that part.

     4                   What I'm trying to tell you, just because

     5    there is a label on there, you can see that in your jury

     6    instructions, doesn't necessarily mean that is it.            That is

     7    the end of the case.

     8                   (Holding up chrome cassette with big label by

     9    the handle.)     Look how small that label is.       Just a small

   10     black, no red.

   11                    And this is what they, this is what they could

   12     have done (holding up red cassette.         There could have been

   13     no dispute on this one.       You would have seen it right off

   14     the bat.

   15                    The next slide, please.

   16                    Now, I'm not going to be too long.        There is

   17     this theory that they make that somehow they came up with

   18     the trade dress in the United States first.

   19                    It's almost not worth we think addressing but we

   20     will address it briefly here.        Maybe in rebuttal, I'll spend

   21     more time on it.      We've been selling cassettes these

   22     cassettes through Broetje for a number of years, starting in

   23     2002, 2001.     Many of them were in the United States.           In

   24     fact, you will going to see something about Vought today

   25     from the opponents here.
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     1                   But you can see right here and the same time

     2    frame that they sell in 2004, here is the shipping delivery

     3    order to Vought, the same shipping order where it says:

     4    Country of manufacture:       France.

     5                   Now, what do you do with these delivery order

     6    things?    You heard the testimony of Mr. Benczkowski.          I

     7    think he called that a typo.        I don't know how reliable

     8    these are.     And I don't know if Mr. Benczkowski knows how

     9    reliable they are.

   10                    The country of manufacture or country of origin.

   11     It could be France or Germany.        It's just for customs sake.

   12     So we can't identify necessarily whose cassettes they are.

   13                    Now they're going to show you something that says:

   14     Country of manufacture:       Germany.    Like Mr. Benczkowski

   15     said, it could have been a typo.         They could have put

   16     Germany because it was being shipped from Germany.            These

   17     are always being shipped from Germany.          It doesn't

   18     necessarily mean it's a Broetje cassette, like they were

   19     going to try to tell you that.

   20                    Go to the next slide, please.

   21                    Now, finally in 2005, middle of 2005, Mr. Bornes

   22     is in a plant.     And you heard his testimony.        And he sees

   23     for the first time a cassette that he knows is not his, and

   24     he realizes its Broetje.

   25                    Again, remember back in 2002, when Mr. Maylander
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     1    sent an e-mail -- in 2003 to Mr. Neugebauer.           Several years.

     2    He had no way to know.       It took him a couple years and it

     3    was just by pure luck that he discovered it.           He happened to

     4    be in a plant where he was near a machine that actually had

     5    some Broetje cassettes.       And he was shocked.      You saw him.

     6    You heard his testimony.

     7                   So what would someone naturally do on that?          I

     8    didn't know they were designing their own cassette.             No one

     9    told me that.

   10                    So they talked to their lawyers.        Their lawyers

   11     sent a letter telling them to stop infringing our intellectual

   12     property, our patents.

   13                    The next slide, please.

   14                    So that then comes Dr. Budach.       He now is

   15     engaged.    2005.   There have been threats and now they

   16     realize they had better do something because they saw there

   17     was no opinion there from Dr. Budach yet.          It was just we

   18     have a problem but we're not sure what to do with it.

   19                    So he writes the opinion, but it is very

   20     interesting, his opinion.       Again, this is DTX-1605.

   21                    He ends his opinion just like this.        His

   22     opinion, if you read it, you will see it is very weak.

   23     There is no analysis.       It is very short.     But he ends it

   24     with this:     With deliberate use of third party property

   25     rights, CLAAS-internal management approval would have to
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     1    be obtained.     We could possibly discuss briefly by phone

     2    beforehand whether that is necessary here.

     3                   Does that sound like a definitive opinion there

     4    is no infringement?       No.    It sounds like there is a concern

     5    here.    You know, maybe we're infringing so let's get on the

     6    phone and get an okay about our internal management.            Who

     7    knows whether that conversation ever took place.           We don't

     8    know.

     9                   AHG has a belief, and I'm going to tell you I

   10     think it did take place.         That is purely my argument.

   11                    Let's go to the next slide.

   12                    And this is the testimony from Dr. Budach.

   13                    "Question:       You wrote this e-mail to advise

   14     Broetje of what your position was within the context of the

   15     German proceeding.      Correct?

   16                    "Answer:     Yes."

   17                    So he is writing his e-mail.       He finally does

   18     an opinion, and he is really being forced to.           He is being

   19     forced to because of the threat now of the German

   20     litigation.

   21                    So it took that to finally come up and try to

   22     figure out what they're trying to do.         So he had to figure

   23     out do we really infringe?          Because I didn't really didn't

   24     do something back in 2003 after I find out we're in trouble

   25     there.    Because we know we copied them, we have a pentagon
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     1    shape, so maybe we can try to tweak some technicality out

     2    here or something like that.

     3                   Let's go to the next slide, please.

     4                   Here is some more testimony from him.

     5                   "Question:    And at the time you wrote this

     6    e-mail in September of 2005, you still had not obtained an

     7    opinion from United States lawyers about the United States

     8    versions of these patents.          Correct?

     9                   "Answer:     Yes."

   10                    Remember he said we have to make that phone call

   11     to internal management and see if we can deliberately use?

   12     Well, clearly, they're not going to go to outside counsel in

   13     the United States if they're going to do it behind their

   14     backs.    That wouldn't make any sense.

   15                    The smart thing would be to go to U.S. lawyers

   16     who know U.S. law, who know how to do U.S. patent law, and

   17     get a proper opinion.       You heard Dr. Budach is not qualified

   18     in the United States to practice patent law.           He is not a

   19     patent lawyer in the United States.            He is not qualified.

   20     He is not licensed to do it.

   21                    Next slide, please.

   22                    And, again, that 2005 e-mail, just like the 2003

   23     e-mail, has no discussion of this Shinjo.           That little

   24     slide, they showed you three things on there in Shinjo,

   25     again that was created the night before his testimony.
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     1    There is no mention of Shinjo.        And you can look at that,

     2    his e-mail.     And it's DTX-1605.     If you look at DTX-1605,

     3    there no discussion of Shinjo.

     4                   Now, let's go to Broetje USA.       Next slide,

     5    please.

     6                   We were talking about Broetje Germany there,

     7    Dr. Budach, with CLAAS in Broetje, Germany.          So a separate

     8    company.    But this is Broetje USA.

     9                   So we asked Mr. Benczkowski, the President of

   10     Broetje USA whether he ever received an opinion of whether

   11     or not there is infringement of the '216 and '339 patent or

   12     the AHG patents.      How did he answer?

   13                    "Question:    Have you ever seen an opinion,

   14     whether in-house" -- in other words, Dr. Budach or someone

   15     else like him -- "or outside counsel, relating to the

   16     infringement or invalidity of AHG's patents?

   17                    "Answer:     No."

   18                    So from the standpoint of Broetje USA, they

   19     never received an opinion whether or not there is

   20     infringement or not.      And Broetje USA was selling in the

   21     United States obviously.       They are located in the United

   22     States.    They're selling infringing goods.        They're selling

   23     cassettes.     They facilitate the sales.       Mr. Benczkowski's

   24     sales team goes out there and sells on behalf of Broetje

   25     Germany, but he never received an opinion.
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     1                   Two separate corporations.       In your verdict

     2    form, you will see that is separated on willfulness:            Does

     3    Broetje USA willfully infringe?        Does Broetje Germany

     4    willfully infringe?

     5                   There is no opinion here.

     6                   So go to the next slide, please.

     7                   So these kind of summarize the willful

     8    infringement and the wilfulness standpoint.          They first

     9    learned about -- they first learned about the patent.

   10                    (Post-It note passed to Mr. Lindvall.)

   11                    MR. LINDVALL:    I'm being put under pressure now.

   12                    They learned about the patent in 1994 with the

   13     contract we had.      Then you recall there was a document, and

   14     I haven't showed it to you but you have seen it a number of

   15     times, in 2000, Mr. Bornes actually sent the European patent

   16     to Broetje at their request.

   17                    Again, in June 2003 -- well, June 2003, Broetje

   18     begins to develop copy cassettes.

   19                    Dr. Budach independently finds the AHG patents.

   20     Again, doesn't give a definitive opinion.          He says I need

   21     more information.

   22                    Then in 2005, Dr. Budach's opinion suggests

   23     deliberate use of AHG's patents.        He said all I had to do

   24     was make that phone call.

   25                    Now, let's turn to the next slide.
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     1                   This is the French decision.       Again, I've

     2    already told you about that, and the Judge has instructed

     3    you about French law, but, again, it's relevant from the

     4    particular point of view here because what they did with

     5    this cassette.     I'm sure they're going to tell you about the

     6    German decisions, and all the other decisions.           This is the

     7    only decision that has been admitted into evidence.            So all

     8    these that talk about German decisions and what have you,

     9    you are not going to be able to look at.          They can

   10     characterize them any way they want to, but they are not in

   11     evidence and you are not going to be able to see them anyway.

   12                    The fact is there is a relevant part about this.

   13     It's not that the French court found infringement, because

   14     their law is different, as you heard this Court say.            But

   15     they did find, first of all, that there was infringement of

   16     the European patent by Broetje.        This goes to willfulness.

   17     It's state of mind.      So they were found infringing the same

   18     patent Dr. Budach supposedly gave an opinion on.

   19                    And then the French court, three Judges, found

   20     that "Broetje was copying in a servile manner" -- almost a

   21     slavish manner, just taking it and making a picture perfect

   22     copy of it -- "the appearance of the cassette produced and

   23     commercialized by companies AHG and F2C2 System, thus

   24     creating a risk of confusion with the activities of these

   25     two companies."
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     1                   That's the finding of the French court.         Again,

     2    applying French law.

     3                   What happens as a result of that?

     4                   Will you turn the slide, please.

     5                   So we asked Dr. Peters, the Chief Operating

     6    Officer of Broetje Germany.

     7                   "Question:    Okay.   And when did Broetje begin

     8    redesigning this cassette?"

     9                   In other words, make it look differently.

   10                    "Answer:     After we got a court judgment in

   11     France."

   12                    They went all these years after they developed

   13     theirs, basically thumbing their nose at us until they were

   14     forced to.     Now they said, you know, what we'll change our

   15     appearance.     We'll make sure we're not confusing customers

   16     any more.

   17                    "Question:    And what about the court judgment in

   18     France caused you to redesign the cassette?

   19                    "Answer:     We were informed by our legal staff

   20     that we would have to redesign, newly design the cassette."

   21                    And the next slide, please.

   22                    He goes on and says, this is trial testimony you

   23     heard.

   24                    "Question:    Okay.   Did they tell you why you had

   25     to redesign the cassette?
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     1                   "Answer:     So that the cassette would be clearly

     2    recognizable as our cassette."

     3                   So three Judges in France says this is going to

     4    cause confusion.      You have got to change it.       Their lawyers,

     5    Broetje's lawyers and CLAAS told them redesign it so we

     6    could clearly recognize it so there can't be confusion.

     7                   "Question:    Now, was there any change" -- this

     8    is important -- "was there any change with respect to the

     9    function of the cassette?"

   10                    This cassette here when they redesigned it.

   11                    "Answer:     We did not make any changes in the

   12     function of the cassette."

   13                    And you may have heard the Court talk about

   14     functional versus nonfunctional and you can't protect with

   15     trade dress of the functional aspect.         Some things can have

   16     both a functional aspect and a non-functional aspect.            It

   17     was confusing.     It took me awhile to figure it out myself.

   18                    The Coke bottle is a good example.        The Coke

   19     bottle has a function.       It holds Coke.     Also, it is one of

   20     the most protectable trade dresses in the world.           A design

   21     it has a certain look and feel.        When you see a Coke bottle

   22     you know it's a Coke bottle.        If you go out there and use

   23     the Coke bottle and use some other liquid out there, I

   24     guarantee you will be getting one of those letters from

   25     Coca-Cola because they're protecting their trade dress.
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     1                   Yet it is functional.      So just because something

     2    has a functional aspect, you can also have a nonfunctional

     3    as spent.

     4                   Let me show you some aspect.       The handle.    It

     5    was exactly like ours.       Same shape, same placement, same

     6    color.    Now it's a different color, different shape than it

     7    was before.

     8                   Color of the chrome.      Chrome can be lots of

     9    different colors.      So they turned it into their red color

   10     because the red and black, they're competitive colors that

   11     they have.

   12                    What about the full plastic front that we talked

   13     about?    That is all they need is a little window there.          And

   14     this shows that's all they need is a little window.            They

   15     didn't need the full plastic look.         That was all they had to

   16     do was to do that.      That was a look thing.      This was looks.

   17     The color was looks.

   18                    They're going to make a big deal about the

   19     sides, that our side for awhile was clear.          It doesn't --

   20     this one.     I mean these are the same thing.

   21                    There is a slight difference in the size.         But

   22     they still, they still look like each other.           Same handles.

   23                    Just because there are some slight differences

   24     doesn't mean they're not protectable anymore.           That is what

   25     they should have done a few years go, and except for the
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     1    patent aspect of it we wouldn't be here today.           We wouldn't

     2    be talking about trade dress.        That is all they had to do.

     3    Very simple.     Not a difficult chore.

     4                   Next slide, please.

     5                   Now let's go very briefly with respect to

     6    infringement.

     7                   I'm not going to go through that.        Dr. Kytomaa

     8    brought you through very carefully why they infringed.            Dr.

     9    Kytomaa was a professor at MIT in fluid mechanics.            He has a

   10     Ph.D.    This is his job.     He walked you through, and what he

   11     showed you was a video.

   12                    And this is a Broetje machine that he actually

   13     went to Gemcor and he actually filmed and studied.            You can

   14     see the rivets going through there.         They're not zigzag or

   15     anything else like that.       They're going through there just

   16     like the patent talks about in the claims.          He gave

   17     compelling testimony about how that happens.

   18                    What did their expert do?      The lawyers sent him

   19     a cassette to his house.       The lawyers put the cassette in

   20     there -- the rivets in there, and then he hooked it to a

   21     compressed hose in his house and he took some still photos.

   22                    That is not how it was used.       It was used like

   23     Dr. Kytomaa did in the real situation to see how the rivets

   24     are going through there.

   25                    Who are you going to believe, Mr. Lawrence's
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     1    testimony where he used a cassette in a home that was

     2    provided by the lawyers, or Dr. Kytomaa who went to Gemcor

     3    and actually saw a Broetje cassette in action and with a

     4    rack and the machine?

     5                   Okay.    Let me go to the next one quickly.

     6                   You saw this in Broetje's opening slides.          They

     7    talk with this being our design, or Broetje's first design

     8    and it was rejected, and they changed it to this design.

     9    And you heard Dr. Kytomaa's reaction to this slide.

   10                    Let's go to the next slide, please.

   11                    Let's go to the next slide, quickly.

   12                    What Dr. Kytomaa clearly showed -- and it makes

   13     perfect sense -- what you have, you still have grooves.            The

   14     grooves are a slightly different shape here but there is no

   15     difference in there.

   16                    And as you see, Dr. Kytomaa considered this

   17     still infringes.       It's still a pentagon and it still has

   18     grooves.    Just because this is maybe a circle here, and you

   19     look at the claims, it doesn't say that the groove has to be

   20     a circle, it doesn't give any particular shape, it just has

   21     to allow the air through when you put the circle in there,

   22     and that is what we have done.        That is exactly what they

   23     are doing.     They are still infringing.       They didn't get

   24     around anything.       The opinion is in good faith because of

   25     this.
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     1                   Now, let's go quickly to the next slide.

     2                   Invalidity.    This is an easy.     This is an easy.

     3    They say our patents are invalid over Shinjo.           Correct?

     4    Now, to do invalidity, it's like the flip side.           They have

     5    to show that all of our elements in the claim are in that

     6    reference in Shinjo.      You have to find them somewhere.         If

     7    that is true, that means Shinjo already came up with the

     8    invention.

     9                   Well, you heard Mr. Lawrence.       He admitted that

   10     Shinjo does not have grooves.        Grooves is an important part

   11     of every one of the claims.        If it doesn't have grooves, it

   12     doesn't invalidate the patent.        He admitted it on the stand.

   13                    And, again, same thing.      He also admitted that

   14     it doesn't have, in the '339 patent, the axis of revolution.

   15     Again, that is part of the things he had to show regarding

   16     invalidity.     He basically admitted there is no invalidity

   17     here.

   18                    Next slide, please.

   19                    And the same thing with the Offutt patent.

   20     We're here looking at Shinjo and Offutt.          Those two patents.

   21                    He admits here that the Offutt patent does not

   22     have grooves.     Again, I'm showing you actual trial

   23     testimony.     This isn't a magic slide.      This is all through

   24     trial testimony that has been testified under oath and

   25     argued.
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     1                   Next slide, please.

     2                   And this is my last slide.       You will see me on

     3    rebuttal, and I'm sure you're hoping not very long, but just

     4    for your information, you saw this with our damages expert.

     5                   These are the damages that AHG is seeking.          And

     6    you can see for patent infringement, it's lost profits, and

     7    then for other claims it can be either the unjust enrichment

     8    or the lost profits, and the Judge's instructions will teach

     9    you to do that.

   10                    Of course, the last thing we're going to ask you

   11     to award is punitive damages.        You have seen their conduct

   12     here.    They concealed material facts.       They deceived, they

   13     deceived AHG.     They deceived Mr. Bornes.       Mr. Neugebauer

   14     purposely tried to lead him astray while they were

   15     developing their own product.

   16                    That is just the kind of conduct that punitive

   17     damages is out there to cover.        It's to punish a company and

   18     stop that kind of conduct, that willful-type conduct.            That

   19     is not proper conduct, and that is when you award punitive

   20     damages.

   21                    We'll talk about it a little bit more, but you

   22     can see the Judge's guidelines on that, but that is why we

   23     have punitive damages, why we are asking for wilful.

   24     Because this was intentional copying.         You can look at these

   25     cassettes.     Look at the third-party cassettes and the other
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     1    one.    This is a complete knockoff.

     2                   Thank you.

     3                   THE COURT:    Thank you, Mr. Lindvall.

     4                   Mr. Kelleher.

     5                   MR. KELLEHER:    Thank you, Your Honor, very much.

     6                   Ladies and gentlemen of the jury, I would like

     7    to reiterate Mr. Lindvall's appreciation for giving us your

     8    time.    I know it is very valuable, and thus I will try to

     9    keep myself short.

   10                    As has been said, and the Judge has instructed

   11     you, this is not a contract case although when I hear my

   12     opponent's argument I almost forget that sometimes.

   13                    As we pointed out, there a decision of the Court

   14     of Appeals in France that specifically addressed this issue

   15     about a contract.      If there was any kind of a contract

   16     between AHG and my client Broetje, the French Court of

   17     Appeals found that that relationship ended very peacefully

   18     in 2001 when they stopped doing any business with us without

   19     any prejudice to them.

   20                    If there any kind of contract that arose later

   21     on when F2C2, a new company, came on the scene, the French

   22     Court of Appeals decided that Broetje was within its rights

   23     to end the relationship because F2C2 delivered defective

   24     product to Airbus and after more than a year still could not

   25     fix them.    So this is not a breach of contract case because
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     1    in France, it has already been decided we didn't breach any

     2    contractual obligations.       Specifically, it was decided that

     3    there has been no breach of any obligation of confidentiality

     4    or loyalty.     So that has been laid to rest in France.

     5                   So what is the case really about, though?         It's

     6    a trade dress case which is about the look of the product.

     7    And it's a patent case.       It's about the way the product

     8    works.    That is what I told you in my opening.         That is what

     9    the evidence has showed.

   10                    So why don't we go through what is the real

   11     story in this case.      So you heard from people from my

   12     client:    Mr. Benczkowski, who is at counsel table, Mr.

   13     Maylander, Mr. Neugebauer, Dr. Peters, Dr. Budach from

   14     CLAAS, the former parent company.

   15                    So I told you at the very beginning of this

   16     case in the opening that the parties worked together for a

   17     number of years to develop a better working product that was

   18     originally developed to us when we started working, with AHG

   19     and then F2C2 in the mid-90s.

   20                    And you heard from Mr. Bornes agreeing and from

   21     Mr. Maylander and from Mr. Neugebauer there were a number of

   22     suggestions and improvements that were originally my clients

   23     idea:

   24                    The magnetic code leader in the back of the

   25     cassette that allows the rack to know what's inside the
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     1    cassette.

     2                   My client rewired the rack when it first arrived

     3    because they said it was like a child's racetrack toy.

     4                   We provided the circuit diagram.

     5                   We provided software.

     6                   We provided the idea of a throttle to regulate

     7    the air pressure so rivets wouldn't be jammed on the inside.

     8                   We provided the idea of a slide mechanism in the

     9    rack to replace that.       In fact, that crazy rotator thing

   10     where the rivets would have to fall down to the bottom and

   11     Boeing Wichita had to have a full-time employee called

   12     "rotator man" coming out and fixing it every single day.

   13                    So everyone agrees that my client came up with a

   14     whole bunch of ideas that AHG and F2C2 built into their

   15     cassette and they're still there today.

   16                    But around the beginning of the year, the early

   17     2000s, troubles began to mount.        They began to have a lot

   18     more problems with them.       And Mr. Neugebauer informed you he

   19     began to put them into a normal document called a fault

   20     report.

   21                    So the very first one began I believe in 2000.

   22     Here, we have some more notable ones from 2001 where they

   23     have all kinds of problems with the cassettes.           They have to

   24     be sent back or reworked because rivets are sticking inside

   25     the tubes in the cassette, they're sticking in the escape
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     1    mechanism, they can't get out.        They have all kinds of

     2    problems.

     3                   This is one from the United States -- or United

     4    States customer I should say.        They delivered all of these

     5    cassettes from France to Germany when my client is putting

     6    together this gigantic machine to be delivered to Boeing

     7    Wichita and these cassettes don't taken fit into their own

     8    rack.    They can't even manufacture their cassettes to the

     9    proper tolerance so they can slide into these openings.

   10                    So these problems with quality and, of course,

   11     the ultimate betrayal of beginning to work with Gemcor just

   12     became intolerable for my client.         They spoke about the

   13     quality problems.      They couldn't deliver things on time to

   14     us.   You saw the e-mail from Mr. Maylander to them saying

   15     that their delivery delays are becoming a bottleneck for our

   16     production, and that we learned of our bottleneck from the

   17     folks at Boeing Wichita who are complaining about the

   18     problem.

   19                    They complained in particular about F2C2 sharing

   20     our improvements our suggestions for their system with their

   21     competitor Gemcor because we had worked together for a very

   22     long time.     You saw the e-mail, JTX-66, that my opponent

   23     showed from Mr. Maylander where he said we worked together

   24     to put together the ARA, automatic rivet system.

   25                    Did we see any writing back from Mr. Bornes
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     1    saying, no, we didn't, these are all my ideas?           He accepted

     2    that as true.     He understood why my client was so angry that

     3    our ideas were now to be sold to our chief competitor.            You

     4    don't get our know-how for free.

     5                   Now, you will notice a couple of things.

     6                   We heard during this case a couple of times that

     7    it was maybe when CLAAS assumed full ownership as the parent

     8    company in 2003 that things changed.         Maybe it was a bit

     9    earlier in 2002 when Gemcor came on the scene.           But here is

   10     a letter from October 2001 from Mr. Neugebauer saying by

   11     adding all these problems -- and he is talking about

   12     technical problems, you can read it in the letter, it's

   13     Exhibit 1061 -- we are investigating in other solutions for

   14     rivet feeding.

   15                    So we told them all the way back in 2001, we

   16     might have to stop working with them and pursue other

   17     relationships because their product had a lot of problems

   18     and our name was on the line.

   19                    Just a few months later, in January of 20002,

   20     again, before they say things changed, we say that

   21     Mr. Neugebauer again at this point, we feel that we are

   22     being penalized for placing our faith in F2C2 because we're

   23     having problems with our customers because of their delays

   24     and their bad workmanship.

   25                    So we reach a point in time where we realize we
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     1    have to make our own system.        We cannot continue to rely

     2    upon these delivery delays and the bad workmanship, getting

     3    complaints back from our customers, so we decide we have to

     4    go through our own R&D process.        And now you've heard that

     5    there's this JTX-14 document that supposedly is the copying

     6    document.     This was the document that shows here's the

     7    example of what we used and have to improve on it.            What's

     8    the name of the document?       It's to build an innovative rivet

     9    feed system.     What does innovative mean?       It means new.    Not

   10     a copy.    When you copy, it ends up looking like the thing

   11     you copied.

   12                    Here's the product that they used to sell to us.

   13     It's plastic on four of the sides on the top.           It has got

   14     these number counter things on the front.          It has got this

   15     chain in the back.      It has got colored tape on it.

   16                    This came out.     Here's what my client came up

   17     with.    We decided to make it metal all the way around.          We

   18     put a window in the front.       We don't have these bad counters

   19     on it.    We have this metal bar here (indicating) for a

   20     little bit of extra stability.        Instead of this chain,

   21     which could obviously get stuck on things, we came up with

   22     this thing in the back that you could just slide it onto.

   23     And this thing back here (indicating), this separator where

   24     the rivets were always getting stuck on their product, we

   25     built a new one that worked on an entirely different
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     1    principle.

     2                   Instead of having these little pins like this,

     3    we had these walls that go like this.         Works a lot better.

     4    We put it on the inside so it wouldn't be able to get

     5    damaged when it's pulled in and out of the rack.           So if we

     6    had copied this plastic box, we would have ended up with a

     7    plastic box like theirs.       We didn't.    We got something quite

     8    different.     And then what do we do?      We put our label on it.

     9    We put our name on it.

   10                    Now, it's not disputed that my client knew about

   11     their patents.     We remember Mr. Bornes sent a letter in 2000

   12     to my client saying, here's our patent.          It's on the rifles

   13     in the tube.     What's rifles?     Think about a gun, the long

   14     tube has carvings, etchings into it so the bullet travels

   15     more carefully.     When my client got Dr. Budach from CLAAS

   16     involved, he ultimately reached the exact same conclusion:

   17     Their patent covers rifles or grooves etched into the walls

   18     of the tube.

   19                    So my client contacted Dr. Budach because we

   20     wanted to be sure we didn't infringe anyone's patents,

   21     including theirs, which we knew about, and what happened?

   22     Development goes forward in 2003.         Dr. Budach is doing his

   23     investigations.     He's forming his opinions and then he gets

   24     told, oh, in early November of 2003, we just sent this

   25     request to a tube manufacturer, asking them if they would be
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     1    able to make a tube like that.

     2                   As it happens, this is what F2C2's tube used to

     3    look like.     Circle that actually had five grooves in it.

     4    That thing is not a pentagon.        I know we've heard that word.

     5    That's not a pentagon.       That's a circle with five grooves in

     6    it.

     7                   Dr. Budach hears about this.       He says, oh, my

     8    gosh, stop.     That thing might infringe because that has

     9    grooves in it and that's what their patent is all about.

   10     You can't do that.      Use this instead (indicating).        Use this

   11     soft pentagon as we call it.        And because, as he explained,

   12     this way the air will still get all the way down the tube to

   13     the rivets by using the space that's around it, because as

   14     you know, we use a much smaller rivet than this overall

   15     space.    That dotted line is not the rivet head here.          It's

   16     just the diameter of that soft pentagon.

   17                    And so what did my client do?       Just a few weeks

   18     after they sent this initial order, they wrote back to the

   19     same tube manufacturer saying, stop, stop.          We do not want

   20     this.    We need you to manufacture this instead (indicating).

   21     Can you please do that for us?        And that is the -- that is

   22     the tube my client decided to use and they still use it

   23     today.    Of course, the patent has expired, so even if they

   24     had infringed, it wouldn't matter.         But this is what we

   25     chose and my client purposefully did that because they
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     1    wanted to avoid infringing AHG's patents.

     2                   Now, these two documents, I used them with Dr.

     3    Budach when he was on the stand yesterday, and in the

     4    hour-long cross-examination there was not one question put

     5    to Dr. Budach about these documents, because I'm sure they

     6    would not like the answers.

     7                   So this is Dr. Budach.      Now, we know that my

     8    client went back to Dr. Budach in 2005 with a question

     9    because we got an accusation from them that we were

   10     infringing their patents.       So management writes to Dr.

   11     Budach again in 2005 saying, are you sure about this?             They

   12     showed him what we were using at the time.          It's the soft

   13     pentagon he told them to use.        And he wrote back.     And

   14     this is the same 2005 e-mail that Mr. Lindvall showed you

   15     that has a line at the end about deliberate use of someone

   16     else's infringement would require us to talk to CLAAS

   17     management.     Of course, it would, because that's against

   18     company policy.

   19                    Here's what he wrote on the first page of that

   20     2005 e-mail:     If Broetje, instead of the cylindrical

   21     cross-section, which is the circle with the grooves, uses a

   22     pentagonal cross-section, there is already no infringement.

   23     So he knew they were following his advice from 2003 using

   24     the soft pentagon.      He told them again, I already told you

   25     you aren't infringing, and I reiterate that.           You're already
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     1    not infringing.

     2                   Now, they have said, oh, no, but you didn't go

     3    and get advice from a United States lawyer.          The Judge has

     4    already instructed you, there is no duty in our law to go

     5    and get advice of counsel, but they did.          Dr. Budach is a

     6    German patent lawyer.       To become a German patent lawyer,

     7    you're required to learn quite a bit of U.S. patent law.

     8                   As you heard, there's an oral examination for

     9    five hours and you can be asked any question about law from

   10     all over the world, including United States law.           Who are

   11     CLAAS' biggest competitors?        Companies like John Deere.      All

   12     their patents are United States patents.          On a daily basis,

   13     he deals with United States patents.         He's quite competent

   14     to interpret United States patents.

   15                    So what next?    My client introduces into the

   16     market in the United States our metal cassette, our new

   17     metal cassette.     What do we do for the customers?        We know

   18     there are only four customers:        Boeing, Spirit, Vought and

   19     Gulf Stream.     We gave, we introduced into evidence shipping

   20     documents for all four of them showing them that Broetje is

   21     the source, the manufacturer of these cassettes.           We're not

   22     tricking our customers.       We're telling them, here's how our

   23     new cassette.     We're the manufacturer.       We make them in

   24     Germany.

   25                    Here's another document that we showed you.
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     1     Boeing asked, could you give us a quotation for budgetary

     2     purposes for your new cassettes?        We said the Broetje build,

     3     that is the ones we built, it would be this cost.

     4                   Here is from January 2003, before we began the

     5     formal R&D process, a meeting Mr. Neugebauer was at in

     6     Dallas with Vought, and we're talking about the 50 new

     7     designed cassettes.      Even then we are telling them, we're

     8     going to have our own cassettes coming out and, by the way,

     9     they're going to be metal.       You can see those are not the

    10     F2C2 cassettes.

    11                   When Mr. Benczkowski was on the stand, he showed

    12     you e-mails that our spare parts manager, Laura Ballard,

    13     sent back and forth to customers.        They would write to

    14     us we need some spare parts for F2C2 products.          She told

    15     them, we don't do business anymore with F2C2.          Here's

    16     their contact information.       If we were tricking our

    17     customers into believing that we were selling cassettes made

    18     by F2C2, we wouldn't be telling them we don't do business

    19     anymore.

    20                   So like I said, it's a European litigation.

    21     They have stressed that they won parts of the French

    22     Appellate Court judgment and I have shown you, we've won

    23     part of it as well.      There have been other cases as well.

    24     We've won a little bit more.       We are happy about that.

    25     Nothing is really final let yet.        Like we said, everything
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     1     is on appeal to the Supreme Courts in France and Germany,

     2     and we all agree that none of the patent and trade dress

     3     issues are controlled by what has happened in Europe.

     4                    So the trade dress case.      What legally is

     5     required here?

     6                    There has to be a likelihood of confusion for

     7     them to prevail on their trade dress claim.          There is no

     8     possibility whatsoever that our customers, the four of them,

     9     could be confused into thinking that our cassette is made by

    10     F2C2.    You heard Mr. Hage testify that the entire industry

    11     has known since 2008 about this dispute and that they

    12     accused us of copying.      So they can't dispute it.

    13                    We have incredibly sophisticated customers, only

    14     four of them.     They're custom products.      They're built to

    15     order.     They are not bought off the shelf.       They are not

    16     bought side by side.      You can't accidentally pick up one

    17     instead of the other.

    18                    There's a lot of customer contact.       They come

    19     and visit us in Germany and they see these things, they pick

    20     them up.    They see the brand name.      They slide them in and

    21     out to make sure that they work; the racks, that is, not the

    22     cassettes.    They're bought in a very selective specification

    23     process where things are detailed in incredible detail and

    24     they know exactly who the manufacturers are of the

    25     components we are giving them.
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     1                   It has been ten years now since we started

     2     selling this in 2004 in the United States.          They have not

     3     given you one bit of evidence there has ever been a single

     4     instance of confusion after ten years.         You'll see in the

     5     jury instructions that's incredibly strong evidence that

     6     there's no likelihood of confusion if after ten years, none

     7     has cropped up.

     8                   Prominent branding.      They have their name in big

     9     letters in the middle of their cassette and we likewise have

    10     our name on the front of our cassette.         You can see it when

    11     it slid into the rack.      They say it's small, but that's

    12     about the best size it can be when it's slid into the rack.

    13                   Priority of use.     The Judge has read to you jury

    14     instructions 7.5.     I hope you pay quite a bit of attention

    15     to this one when you are back in the jury room.

    16                   It says, one of the things AHG must prove is

    17     that AHG owns the chrome color of its cassette, and so

    18     forth, and the other elements they are part of their trade

    19     dress.   It goes on.     And to prove they own this, they have

    20     to prove that AHG used the trade dress in the United States

    21     in a manner that allowed customers to identify the trade

    22     dress with AHG or its product before the Broetje Parties

    23     began to use the current product.

    24                   It's undisputed that we began delivering our

    25     metal cassette to Dallas customer Vought in 2004.           Now,
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     1     ladies and gentlemen, be sure when you are back in the jury

     2     room to look at PTX-129.       This is the document Historique

     3     Cassette, the document created by them showing the history

     4     of the cassettes.     And it shows you these images.

     5                    This is the product in 2003 that they were

     6     selling us, the plastic cassette.        This is what we were

     7     delivering into the United States and this is what the

     8     customers saw.

     9                    In 2004, we developed the metal cassette.         In

    10     this document, it shows you, they're Generation 5.           They

    11     came out with in 2005, a year after we began using the metal

    12     Vought in the United States, they decide, oh, now we're

    13     going to be metal.      They told you they've gone back to

    14     metal.     All they mean by that is they are trying to say that

    15     they've gone back to the single metal cassette that they

    16     sold to British Aerospace back in 1991 that wasn't in the

    17     United States and it was at a secret military facility in

    18     Britain.    As you will see by looking at it, it was a blue

    19     box with a with a silver handle.        It does not look like

    20     anything they say was their trade dress.         Everything is else

    21     was plastic in 2005, when they switched to metal after they

    22     saw that we had switched to metal.

    23                    Functionality.    The overall appearance of this

    24     cannot be functional and it is the function of these things.

    25     The reason they look the way they do is their function is to
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     1     slide into a rack and to feed it rivets.         Everything about

     2     it is necessary for that function.

     3                   Why do we have a clear case?       Everyone who

     4     testified about that said it's to see inside, so you can see

     5     if the tube is still full of rivets, to see if there's a

     6     jam, to see where it is.

     7                   The size, shape and placement and color of the

     8     handle.    Remember, this thing is meant to be carried around

     9     like a briefcase.     You need a handle to do that.        You can't

    10     have a handle over here either, where it will be off kilter.

    11     It will be tough to carry.       And you need to be able to slide

    12     this thing in and out of a rack.        You've got to have a

    13     handle for that.     It has to be on the front, too.        It

    14     couldn't be on the top or you'd be sticking your hand into

    15     this dangerous machine.

    16                   The chrome color.      It has been discussed a

    17     number of times.     The aluminum is much more sturdy than the

    18     plastic.    That's its function.      This is an industrial piece

    19     of equipment.     It gets thrown around a bit in the airplane

    20     facilities.    And numerous witnesses have told you that one

    21     of the problems with the plastic box is that it will crack,

    22     especially around the handle.

    23                   The placement of the white connectors.         Now, the

    24     white is because that's an ordinary industrial plastic.

    25     They exist where they are because that's where the
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     1     compartments are in the back of the rack that they need to

     2     fit into for the rivets to come out of.

     3                   And on the loading station, that's where the

     4     rivets will go, will go into.       That's required by the way

     5     these things operate, so the overall look and feel.           There's

     6     no distinctive arrangement of look here.         All the components

     7     add up to one big functional unit.

     8                   There's no secondary meaning in the United

     9     States.    There are only four customers.       Where is the

    10     evidence these four customers associate this box, whether it

    11     be metal or plastic, with F2C2?        We didn't hear from any

    12     employee of any of these customers.        The only, the close of

    13     the we came was our expert witness, Michael Lawrence, who is

    14     a former Boeing employee and worked with us now as a

    15     consultant now.     He knows full well he works on both Broetje

    16     cassettes and AHG cassettes.       It's not surprising,

    17     certainly, that there would be any secondary meaning or

    18     association by customers with F2C2 about the metal box

    19     because, of course, the customers had only seen the plastic

    20     box for years and years and years until we introduced the

    21     idea of the metal box.

    22                   So for the trade dress case, AHG failed to prove

    23     all the elements that they had to prove.         They didn't prove

    24     priority of use.     They didn't prove non-functionality.         They

    25     didn't prove secondary meaning in the United States as of
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     1     2004, when we started selling.        And they didn't prove

     2     likelihood of confusion.       So you should return a verdict in

     3     my client's favor on all of the trade dress and unfair

     4     competition claims.

     5                   Intentional interference with respect to future

     6     economic advantage.      Think about what they are talking about

     7     here.   They are talking about money they hoped to get from

     8     Boeing, Vought, Spirit and Gulf Stream.         They were our

     9     customers.    They were our supplier.      We were their

    10     customers.    The only relationship that they have with our

    11     customers is the pass through to us.         And think about it.

    12     They started doing business with Gemcore, so now they have a

    13     new passthrough.     They didn't lose access to these four

    14     customers.    In fact, they still say because they sell to

    15     Gemcore and now ElectroImpact, they have access to our four

    16     customers.    They make sales through Gemcore.        They get

    17     revenue from that.      Their economic advantage has not been

    18     hurt.   They have the same access to the four customers as

    19     they did before.

    20                   Now, I would like to turn -- so on the

    21     intentional interference claim, you should also return a

    22     verdict for my client.

    23                   I want to turn to the patent issues now.           Dr.

    24     Kytomaa did get on the stand and I was actually surprised

    25     because he went a little bit too fast and he missed some of
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     1     the elements of the claims and he did not provide you

     2     evidence that my client actually has some of these claim

     3     elements in our product.

     4                   He skipped right over peripheral guiding.          He

     5     didn't tell you the Judge's claim construction and he didn't

     6     tell you why.     He never explained exactly where the supposed

     7     grooves are passed in the way he says are in my product open

     8     into a hollow center.      We look at the smooth pentagon.        It's

     9     just one big hollow center.       Where is the point at which

    10     anything opens into anything else?        We didn't hear an

    11     explanation of that.

    12                   Claim 6 --

    13                   MR. LINDVALL:     Your Honor, I'm sorry.      I have to

    14     object.    Could we have a quick sidebar.

    15                   THE COURT:    All right.

    16                   MR. LINDVALL:     I hate to object.

    17                   (Sidebar conference held out of the jury as

    18     follows.)

    19                   THE COURT:    We'll stop the clock, so don't worry

    20     about that.    We'll take the time we need to figure this out.

    21     What's the issue?

    22                   MR. LINDVALL:     There has been a

    23     mischaracterization of your claim construction.           There's

    24     not -- the passageways of grooves, there is not a

    25     requirement it has to be cut into a wall and he has been
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     1     characterizing that.      It must be a situation where there

     2     was --

     3                   THE COURT:    Hold on a second.      We're

     4     interrupting counsel's closing argument for what?           To tell

     5     me --

     6                   MR. LINDVALL:     Because he's mischaracterizing --

     7                   THE COURT:    Hold on.    Let me ask the question.

     8                   MR. LINDVALL:     Sure.

     9                   THE COURT:    He can argue any reasonable

    10     inference consistent with any reasonable interpretation of

    11     the claim construction of the evidence that has been

    12     presented.    You think that he has gone beyond that?         Tell me

    13     how.

    14                   MR. LINDVALL:     What I -- why I objected, Your

    15     Honor, was I think he is mischaracterizing your claim

    16     construction to the jury.

    17                   THE COURT:    Well, the jury has my claim

    18     construction.     You have ten minutes to respond.

    19                   MR. LINDVALL:     Okay.

    20                   THE COURT:    If you think -- I mean --

    21                   MR. LINDVALL:     I will address that in my

    22     rebuttal.

    23                   THE COURT:    All right.

    24                   (End of sidebar conference.)

    25                   THE COURT:    Mr. Kelleher, you have ten minutes
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     1     left.

     2                   MR. KELLEHER:     Thank you, Your Honor.

     3                   Dependent claim 6 of the '339 patent, where I

     4     was, calls for withdrawing the stop member.

     5                   We didn't get an explanation from Dr. Kytomaa

     6     about how in the world a stop member is withdrawn from my

     7     client's product when rivets are ejected.

     8                   The mechanism that is in my client's product

     9     for advancing one rivet at a time, it's difficult to see on

    10     this product.     You can see it on some of the others you will

    11     have in the juryroom.      They move back and forth like this

    12     (indicating).     And none of them ever become separated from

    13     the Cass cassette.      It is never withdrawn from the cassette.

    14     So he hasn't proven infringement of claim 6 of the '339.

    15                   Now, our expert Michael Lawrence got on the

    16     stand yesterday and he testified to two particular ways in

    17     which my client does not infringe.        He said with regard to

    18     the '216 patent, the claim element that the head -- the area

    19     of the rivet head has to be substantially equal to the area

    20     of the internal cross-section of the tube, and he showed you

    21     that that isn't true.      That in fact in our product, the

    22     rivet head is quite a bit smaller than the tube.           The

    23     proportions are similar to comparing a dime to a nickel.

    24     Those are not substantially equal.

    25                   And when Dr. Kytomaa got back up on the stand.
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     1     He did not rebut that at all.

     2                    My expert Michael Lawrence also explained how

     3     the Judge's claim construction requires that the axes, his

     4     claim interpretation that is, that the axes of the rivets be

     5     pointed in the direction of the axis of the tube.

     6                    And Michael, Mr. Lawrence, here is a photograph

     7     showing that the rivets don't actually do that.           When air

     8     pressure is applied, they go a zig-zag.         And that actually

     9     was not rebutted either when Dr. Kytomaa got on the stand.

    10                    Now, the earlier testimony that Mr. Lindvall

    11     referred to, and where he showed the video of the rivets

    12     advancing through the tube, very long rivets, chosen no

    13     doubt for that reason, if you look at the video you will see

    14     they slightly zig-zag.      The axes don't point in the right

    15     direction for them to be covered in the claims.

    16                    As for passageways, this is an image from Dr.

    17     Kytomaa's presentation.      He is pointing to longitudinal

    18     passageways, but it's the wall of the tube that he is pointing

    19     to, and air is somehow coming out of the wall into the interior

    20     of the tube.    And these rivet heads are flush up against the

    21     surface of the inside wall.       And as we have just shown you,

    22     Broetje doesn't do that with rivets in its tube.           Rivets

    23     that are specified for our tubes are much smaller than that,

    24     and the rivets don't get anywhere near that big to be able

    25     to be flush with the wall.       This is not our product that Dr.
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     1     Kytomaa was testifying about.

     2                   I also want to point out there a discussion with

     3     Dr. Kytomaa about his drawing imaginary circles.           There is

     4     nothing in the patents about drawing imaginary circles to

     5     be able to find grooves or passageways.         You will see the

     6     Judge's claim interpretation.       He read them to you already.

     7     You will have them in the juryroom.        There is nothing in

     8     Judge's claim interpretation about drawing imaginary circles

     9     in a pentagon to try to find where claim limitations, where

    10     claim elements are present.

    11                   Now, intent is an element of some of these

    12     patent issues.     Simple infringement, no.      We could

    13     accidently infringe.      We don't but we could.

    14                   But there are other things:       Induced infringement,

    15     contributory infringement and willful infringement.           Those

    16     require a bad mental state.       And my client did not have a bad

    17     mental state.     Why?

    18                   We proved it to you because they went out and

    19     got advice of a lawyer, Dr. Budach, and he gave them legal

    20     advice in 2003.     And what did they do?      They relied upon it.

    21     They acted upon it.      They changed their design.       So they

    22     believed it wouldn't infringe.        And when they got accused

    23     two years later, they went back to him and said we have to

    24     double-check with you.      Are you sure?     And he said, yes, you

    25     don't infringe.
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     1                   Now, I want to talk a little bit about invalidity,

     2     although we're very close to the end of my time here.

     3                   The patent Patent Office does make mistakes, as

     4     you heard in this case.      They literally misspelled the name

     5     of the first named inventor.       That is supposed to be

     6     Jean-Marc Auriol, and it's spelled Aurtoi on both patents.

     7     With all due respect to the Patent Office, these patents

     8     should not have issued either.

     9                   So because we're short, we are short on time in

    10     the case, you didn't get to hear everything about the prior

    11     art I would have liked to have told you.

    12                   This is something I showed you in the opening

    13     statement.    Michael Lawrence identified it yesterday.          It's

    14     the Brosene patent.      It shows back in the '60s people had

    15     cassettes with filled with tubes filled with patents.

    16                   This is the Mauer patent.       This was the patent

    17     that at his deposition, we showed the video, Jean-Marc

    18     Auriol refused to answer my question as to whether there are

    19     grooves or passageways in that pie-shaped tube and called my

    20     question pernicious.

    21                   These are the two prior art references that

    22     Mr. Lawrence spoke about.       I want to talk first about the

    23     Offutt reference.     So here we see a drawing of a gentleman,

    24     perhaps Mr. Offutt, with a coiled up tube around his body.

    25     And he has this tool that shows this column of rivets, and
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     1     there is a tube behind it.       That is what is around his neck.

     2                    It's got the stop member here at the front.           It

     3     has a stop member in the form of a valve here.          There is

     4     another valve shown in the drawings by Mr. Lawrence pointed

     5     them out to you yesterday.       And the Offutt patent says there

     6     is enough room for the air to get around the heads.

     7                    The Judge's construction of "passageways" which

     8     you will see is any hollow shape that goes down the length

     9     of the tube.    If there is room around the rivet heads for

    10     the air to get through, there is passageways.

    11                    Now, you were shown the video where Mr. Lawrence

    12     during his deposition said he didn't think at the time that

    13     there were grooves there.

    14                    On redirect, I went and asked him:       Are there

    15     passageways?

    16                    He said yes.

    17                    I said what is the judge's claim interpretation

    18     of grooves?

    19                    And he said passageways.

    20                    That's the Judge's claim interpretation.         So

    21     passageways are there, grooves are there.

    22                    As Mr. Lawrence explained, every claim

    23     limitation of all the claims in this case can be found in

    24     Offutt.

    25                    There is one other thing to think about.         We
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     1     heard from the deposition video of Mr. Bornes, when you take

     2     a round tube and you coil it up, as a matter of physics, he

     3     said, it will deform into an oval.        And with an oval, you

     4     definitely have two passageways going down the side, even if

     5     there is some dispute as to whether you do with a circle or

     6     not.

     7                    So Shinjo, that's the patent application that

     8     was cited in the prosecution history.         The examiners knew

     9     about it, yes.     But like we said, the patent officers make

    10     mistakes.

    11                    The Shinjo reference, why are we so concerned

    12     about that?    It's the one that says because of the shape of

    13     the channels, the air will get all the way down the channel

    14     from where you're feeding it all the way to very front of it

    15     and will touch the very first fastener you have in there.

    16     That is what they say in their patent is their invention

    17     with rivets.

    18                    So this has fasteners in it.      We agree they're

    19     not rivets.    We agree they're pointed at 90 degrees instead

    20     of having their axes pointing in the direction if they were

    21     rivets.

    22                    But Mr. Lawrence explained why it will be

    23     perfectly reasonable for a person of ordinary skill in the

    24     art to use rivets, and they would be able to use rivets with

    25     the Shinjo application, and if they did, everything would
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     1     point in the right direction and all of the claim limitations

     2     would be present, and there would be obviousness as to the

     3     '339.

     4                   THE COURT:    You have two minutes left.

     5                   Peripheral guiding.

     6                   I guess it wasn't explained for the infringement

     7     purposes, but there is even a bigger problem with it.

     8                   You will read the Judge's instruction on

     9     indefiniteness.     The public is entitled to know what is the

    10     precise definition of the claim elements so we can

    11     design-around it and make sure not to infringe.

    12                   I asked Mr. Auriol:      What does it mean?     I want

    13     to design a tube that doesn't have peripheral guiding.

    14                   He had no idea.

    15                   I asked Mr. Bornes.

    16                   He said there is no minimum or maximum distance

    17     between the wall, how I know how to design-around that.

    18                   Dr. Kytomaa told us yesterday, when he was

    19     talking about Shinjo, it doesn't have peripheral guiding

    20     because the rivets -- the fasteners only slide on one wall.

    21                   I don't see anything about that in the patent or

    22     Judge's claim interpretation.       I don't think the public

    23     would have enough information to get the precise claim scope

    24     on peripheral guiding to be able to designed around it.

    25     That means any claim with peripheral guiding in it is invalid.
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     1                   They knew that we were shipping their racks and

     2     their cassettes to Vought, Dallas in 2004 and we didn't buy

     3     cassettes from them.      They were on notice.      They said it was

     4     fishy.   Mr. Hage did.     They complained to Mr. Neugebauer:

     5     When are you going to order the cassettes?

     6                   Their lawyers when they complained to us a

     7     couple years later, in -- I'm sorry -- in 2005, said:            You

     8     have been buying racks and loading stations without

     9     cassettes.    They thought it was suspicious.        Well, it was.

    10     They were on notice to do an investigation and they didn't.

    11     That is why the statute of limitations has run.

    12                   So the evidence has proved, ladies and

    13     gentlemen, that we don't infringe their trade dress.           You

    14     should find in favor of us on everything.          We don't infringe

    15     their patents.     We didn't do it willfully certainly, and

    16     their patents are invalid.

    17                   Their damages are grossly overstated.         As you

    18     have heard, they ignore costs.        How can you ignore costs?

    19                   So your verdict, ladies and gentlemen, our

    20     customers look for the Broetje name.         You should, too.     On

    21     the verdict form, please sign for Broetje wherever you see

    22     it.

    23                   Thank you very much.

    24                   THE COURT:    Time is up.     Thank you, Mr. Kelleher.

    25                   Plaintiffs have ten minutes remaining.
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     1                   MR. LINDVALL:     At the beginning, I told you that

     2     I was going to show you actual testimony and documents here

     3     in my argument, and that is what I have shown you.           The

     4     trial testimony, which was the actual testimony that was

     5     given for you and the actual documents.

     6                   What I gave you as kind of a foresight or

     7     warning about was that you may see Broetje's counsel's

     8     characterization of the testimony.        And I can tell you now,

     9     you probably saw that, you never saw one bit of testimony

    10     shown to you during his presentation.

    11                   Remember, when I make an argument it's not

    12     evidence.    When Mr. Kelleher makes an argument or he

    13     characterizes a witness's testimony that is not evidence.

    14     He has to show you the evidence.        And I have showed the

    15     testimony and I have showed the documents.          That is what you

    16     have to believe, not myself or not Mr. Kelleher.

    17                   Let me address a couple of the issues that he

    18     raised.

    19                   He made a big issue about, I believe he said no

    20     possibility whatsoever that anyone could be confused.            Okay?

    21     Actually confused.

    22                   Now, first of all, the jury's instruction will

    23     make it clear that -- the Court's instruction to you will

    24     make it clear you don't have to find actual specific

    25     confusion to find the trade dress infringement.
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     1                   Let's look at PDTX-266, please.

     2                   Again, this is actual testimony.        This is

     3     Mr. Maylander, the Vice President of Marketing and Sales of

     4     Broetje.    This is the copy document, the internal document

     5     that they used to copy the cassette.

     6                   I asked him here in the examination whose

     7     cassette that was, in their own document, and walked him

     8     through some of the photographs.

     9                   And as Mr. Kelleher said, he says it's very

    10     simple.    Anyone can figure out by looking at the back of the

    11     cassette whose cassette it is.        Anyone in the industry can.

    12     So Mr. Maylander's who actually sells this to customers

    13     certainly should be able to understand whose cassette this

    14     is.

    15                   "Answer:     That's the back side of a rivet

    16     cassette.    It doesn't say anything, who it is.

    17                   "Question:    Do you know if that is a Broetje or

    18     AHG?

    19                   "Answer:     I can't say that.

    20                   So their own Vice President of Sales, who sells

    21     these cassettes, on the stand in front of you, when I showed

    22     him the back side of this cassette, couldn't determine whose

    23     cassette that was.

    24                   If that is not confusion, I don't know what it

    25     is.    It's their own person who is involved in selling their
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     1     own product.

     2                    Now, let me show you, if you put up PDTX-256,

     3     please.

     4                    They make a lot of argument about priority, they

     5     talk about this plastic cassette, but you will see in the

     6     jury instructions we're not claiming we own chrome color.

     7     What we're claiming is we have the same, they have the same

     8     look and feel.     If you put our cassette side by side, yes,

     9     at times we may have had a clear plastic side but they still

    10     have the same look and feel.       Someone looking at these could

    11     easily say, yeah, they're from the same person.           It doesn't

    12     have to be exactly the same.

    13                    Just because there may be some clearness here,

    14     and chrome everywhere else, they're still the same size

    15     shape, the same handle, full plastic side.          This could be

    16     confused.

    17                    It wouldn't be confused here, though (picking up

    18     red cassette).     Different colors.     Just the little window

    19     here.   So there doesn't have to be this actual confusion,

    20     although with Mr. Maylander we saw that he even on the stand

    21     was confused about what cassette he was looking at.

    22                    Now, if you also look at, they talk about when

    23     they were selling things.       If we could pull up PDTX-105,

    24     please.

    25                    This is a document -- this was a document I used
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     1     with Dr. Peters that was admitted into evidence.           And if you

     2     can turn to the next page, please.

     3                   What this is, Dr. Peters testified this is from

     4     their AMS accounting system which he said was very reliable

     5     and is used by their auditors.

     6                   And right up here, this is the thing called ship

     7     date.   And you see the first ship date?        Shipping date, not

     8     receiving date.     Shipping date from Germany.       The first date

     9     is January 24th, 2005.      Not 2004 but 2005.      They represented

    10     to you it was 2004.      This is something that Dr. Peters was

    11     an accurate depiction.

    12                   Now, you heard Mr. Benczkowski say these

    13     delivery slips can have typographical errors.          But Dr.

    14     Peters said this is what they relied on.         In fact, this is

    15     what they gave on us to rely on for damages.          So if you see

    16     this, this is a printout from their system, and it shows the

    17     first shipment of their cassettes and it was in 2005, not

    18     2004.

    19                   So if we turn to PDTX-256.

    20                   This whole idea is wrong.       It's wrong for two

    21     reasons.    One of all, 2004 is not the right date.         According

    22     to Dr. Peters' documents and their internal documents, the

    23     ship date was in 2005 somewhere.        So we don't know when the

    24     metal, the metal sides mean anything, when that would be done.

    25                   The second thing is they're assuming just because
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     1     you have plastic clear sides that that is not the same trade

     2     dress.    That is wrong.    Somebody can get confused, and you

     3     will look at the factors in the jury instructions when you go

     4     through them.     For example, copying is one of the factors.

     5     And guess what cassette they used to copy?          It was this one

     6     here.

     7                   And there is also testimony in the record from

     8     Mr. Bornes.    And this is probably the first time I said

     9     this.    I don't have it in front of me.       Mr. Bornes testified

    10     in 2003 that he told Broetje that we should change the sides

    11     to metal, and they went and used that idea.          That testimony

    12     is in the record.     Unfortunately, I don't have it to show it

    13     to you.    It's the one time you will have to trust me on it.

    14                   Now, with respect to functionality.         PDTX-247.

    15     And Broetje's counsel tried to say because everything has a

    16     function on the cassette, it can't be protected.           Again,

    17     that is wrong.     But even assuming that, when they came out

    18     with this cassette, and I asked Dr. Peters whether any of

    19     these changes to the color, the look, the feel, the handle,

    20     whether any of this had to do with function, was there any

    21     functional change, he said:

    22                   "Question:    Now, was there any change with

    23     respect to the function of the cassette?

    24                   "Answer:     We did not make any changes in the

    25     function of the cassette."
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     1                    These were all nonfunctional changes.

     2     Nonfunctional changes are protectable.

     3                    Now, I believe with respect to Dr. Kytomaa, Dr.

     4     Kytomaa, again this is an instance where you have to either

     5     believe Mr. Kelleher or believe me, but I believe -- you

     6     remember Dr. Kytomaa up there.        He went through each element

     7     of the claim in laborious fashion.        It probably was tough to

     8     follow because it was, he had to read out each claim

     9     element.    He went through each of the claim elements and

    10     showed you where it was in the Broetje Parties.           He didn't

    11     skip any elements.

    12                    This is not for you to believe me or believe

    13     Mr. Kelleher.      You were there.    You watched Dr. Kytomaa.

    14     You heard him.      If he skipped something, I'm sure Mr.

    15     Kelleher would have pointed out in his testimony.           Did he

    16     show you any testimony for Dr. Kytomaa saying, look, he

    17     skipped that element?       No.

    18                    So you are not here to believe me or believe

    19     Mr. Kelleher.      Again, it's the witnesses you are here to

    20     believe.    They're the evidence.

    21                    THE COURT:    You have two minutes left.

    22                    MR. LINDVALL:      Thank you.

    23                    I think in sum, again, I have to go back to the

    24     whole motive here.      They come up with all of these excuses,

    25     false.     Okay?   Why do you continue buying our cassette for
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     1     11 or 12 years?     Okay.   Why, when we said we're going to go

     2     to Gemcore and sell our cassette, why did they get so upset?

     3     If our cassette was such a piece of junk, they would be

     4     happy if we sold it to Gemcore so Gemcore would have to deal

     5     with all of these hundreds and thousands of faults that they

     6     talk about.    Why?   It didn't make any sense.       Well, we know

     7     why.    We now are going to sell our cassette system to

     8     Gemcore.    They were upset.     Now Gemcore was going to have

     9     that same competitive advantage that Broetje had and they

    10     compete head to head.

    11                    That was a big concern with them.       They didn't

    12     want to have that advantage of us -- of them having the AHG

    13     system also, because when they bid against each other,

    14     Gemcore could say we provide the AHG system, too, because we

    15     know the AHG system was a standard in the industry.           So it

    16     made no sense.

    17                    So what did they do?       They didn't tell

    18     Mr. Bornes, but they went out off and copied ours, our

    19     cassette.     They didn't tell them.      And they kept telling

    20     Mr. Bornes, put pressure on him by lying to him.           We're

    21     going to go to somebody else, we're going to go to somebody

    22     else.   You remember Mr. Neugebauer's e-mail.         Six months

    23     after the development he said, we're thinking about changing

    24     or changing the relationship.       No.    They hadn't thought.

    25     They already decided.       They concealed that fact from him.
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     1                   Mr. Bornes didn't conceal the fact that he was

     2     going to Gemcore and trying to sell from them.          Who are you

     3     going to believe in this case?        Broetje or Mr. Bornes and

     4     AHG?   I think the documents and the testimony makes it

     5     obvious.

     6                   Thank you very much.

     7                   THE COURT:    Thank you.

     8                   Ladies and gentlemen of the jury, let's return

     9     to the jury instructions.       I am going to read you the last

    10     few pages that I did not read to you yet and talk about

    11     the verdict sheet and it will begin time to begin

    12     deliberations.

    13                   I'm picking up with the final jury instructions,

    14     14.0, deliberation and verdict.

    15                   14.1.   Introduction.

    16                   That concludes the part of my instructions

    17     explaining the rules for considering some of the testimony

    18     and evidence.     Now let me finish up by explaining some

    19     things about your deliberations in the jury room, and your

    20     possible verdicts.

    21                   Once you start deliberating, do not talk to the

    22     jury officer, or to me, or to anyone else except each other

    23     about the case.     If you have any questions or messages, you

    24     must write them down on a piece of paper, sign them, and

    25     then give them to the jury officer.        The officer will give
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     1     them to me, and I will respond as soon as I can.           I may have

     2     to talk to the lawyers about what you have asked, so it may

     3     take some time to get back to you.        Any questions or

     4     messages normally should be sent to me through your

     5     foreperson, who by custom of this Court is Juror No. 1.

     6                    One more thing about messages.       Do not ever

     7     write down or tell anyone how you stand on your votes.             For

     8     example, do not write down or tell anyone that you are split

     9     4-4, or 6-2, or whatever your vote happens to be.           That

    10     should stay secret until you are in fished.

    11                    14.2.   Unanimous verdict.

    12                    Your verdict must represent the considered

    13     judgment of each juror.      In order for you as a jury to

    14     return a verdict, it is necessary that each juror agree to

    15     the verdict.    Your verdict must be unanimous.

    16                    It is your duty, as jurors, to consult with one

    17     another and to deliberate with a view towards reaching an

    18     agreement, if you can do so without violence to your

    19     individual judgment.      Each of you must decide the case for

    20     yourself, but do so only after an impartial consideration of

    21     the evidence with your fellow jurors.         In the course of your

    22     deliberations, do not hesitate to re-examine your own views

    23     and change your opinions, if you become convinced it is

    24     erroneous.    But do not surrender your honest conviction as

    25     to the weight or effect of evidence solely because of the
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     1     opinion of your fellow jurors, or for the purpose of

     2     returning a verdict.      Remember at all times that you are not

     3     partisans.    You are judges -- judges of the facts.         Your

     4     sole interest is to seek the truth from the evidence in the

     5     case.

     6                   A form of verdict has been prepared for you, and

     7     you have been provided a copy.        I will read it to you

     8     shortly.    You will take this form to the jury room and when

     9     you have reached unanimous agreement as to your verdict, you

    10     will have your foreperson fill in, date and sign the form.

    11     You will then return to the courtroom and your foreperson

    12     will give your verdict to my deputy.

    13                   It is proper to add the caution that nothing

    14     said in these instructions and nothing in the form of

    15     verdict is meant to suggest or convey in any way or manner

    16     any intimation as to what verdict I think you should find.

    17     What the verdict shall be is the sole and exclusive duty and

    18     responsibility of the jury.

    19                   14.3.   Duty to deliberate.

    20                   Now that all the evidence is in and the

    21     arguments are completed, you are free to talk about the case

    22     in the jury room.     In fact, it is your duty to talk with

    23     each other about the evidence, and to make every reasonable

    24     effort you can to reach unanimous agreement.          Talk with each

    25     other, listen carefully and respectfully to each others
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     1     views, and keep an open mind as you listen to what your

     2     fellow jurors have to say.       Try your best to work out your

     3     differences.    Do not hesitate to change your mind if you are

     4     convinced that other jurors are right and that your original

     5     position was wrong.      But do not ever change your mind just

     6     because other jurors see things differently, or just to get

     7     the case over with.      In the end, your vote must be exactly

     8     that -- your own vote.      It is important for you to reach

     9     unanimous agreement, but only if you can do so honestly and

    10     in good conscience.

    11                    No one will be allowed to hear your discussions

    12     in the jury room, and no record will be made of what you

    13     say.   So you should all feel free to speak your minds.

    14                    Listen carefully to what the other jurors have

    15     to say, and then decide for yourself.

    16                    14.4.   Do not consider what will happen after

    17     trial.

    18                    Members of the jury, in this case you may have

    19     heard or noticed inferences as to what may happen after this

    20     trial.   You are to disregard any inferences as to what may

    21     happen after you have rendered your verdict.

    22                    And, finally, 14.5, Court has no opinion.

    23                    Let me finish up by repeating something that I

    24     have said to you earlier.       Nothing that I have said or done

    25     during this trial was meant to influence your decision in
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     1     any way.

     2                   As I mentioned earlier, the lawyers' statements

     3     and arguments are not evidence.        Their questions and

     4     objections are not evidence.       Any of my comments and

     5     questions are not evidence.       The notes taken by any juror

     6     are not evidence.     You must decide the case yourselves based

     7     only on the evidence presented.

     8                   My legal rulings are not evidence, although you

     9     are required by your oath to follow my instructions and

    10     apply them to the evidence.

    11                   And that concludes the jury instructions.          Let

    12     me turn your attention just briefly to the verdict form,

    13     which in itself is a fairly lengthy document, but has many

    14     fewer words than the instructions.        I will read it to you.

    15     The pages are not numbered.       I'm starting on a page that is

    16     entitled "Patent infringement, direct infringement."

    17                   Question 1 says U.S. Patent No. 5,011,339:          Have

    18     Ateliers de la Haute-Garonne and F202 system S.A.S.

    19     (collectively, AHG) proven by a preponderance of the

    20     evidence that Broetje Automation-USA Inc. and Broetje

    21     Automation GmbH (collectively Broetje) infringed the claims

    22     of the '339 patent listed below?

    23                   There's essentially a table there for claims 1,

    24     2 and 6 and columns where you mark if you find for AHG or

    25     mark "no" if you find for Broetje.
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     1                    Then Question No. 2 relates to U.S. Patent No.

     2     5,143,216:    Has AHG proven by a preponderance of the

     3     evidence that Broetje infringed the claims of the '216

     4     patent listed below?

     5                    There's a table indicating claims 1 and 2.         You

     6     mark "yes" if you find for AHG.        You mark "no" if you find

     7     for Broetje.

     8                    Then we move to questions relating to inducing

     9     infringement.     Question 3 relates to the '339 patent:         Has

    10     AHG proven by a preponderance of the evidence that Broetje

    11     Automation-USA Inc. induced a third party to infringe the

    12     claims of the '339 patent listed below?

    13                    There's a table listing claims 1, 2 and 6.         You

    14     mark "yes" if you find for AHG.        You mark "no" if you find

    15     for Broetje.

    16                    Then, again, for the '339 patent, we now ask you

    17     in Question 4:     Has AHG proven by a preponderance of the

    18     evidence that Broetje Automation-GmbH induced a third party

    19     to infringe the claims of the '339 patent listed below?

    20                    There's the same table, claims 1, 2 and 6.         You

    21     mark "yes" if you find for AHG.        You mark "no" if you find

    22     for Broetje.

    23                    Question 4 relates to the GmbH entity whereas

    24     question three relates to the USA entities.

    25                    You see something similar on the next side,
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     1     which asks you about contributory infringement.

     2                   Question 5, the '339 patent:       Has AHG proven by

     3     a preponderance of the evidence that Broetje Automation-USA

     4     Inc. contributed to the infringement by a third party of the

     5     claims of the '339 patent listed below?

     6                   The table lists claims 1, 2 and 6.        Mark "yes"

     7     if you find for AHG.      Mark "no" if you find for Broetje.

     8                   Then Question 6, again related to the '339

     9     patent:    Has AHG proven by a preponderance of the evidence

    10     that Broetje-Automation GmbH contributed to the infringement

    11     by a third party of the claims of the '339 patent listed

    12     below?

    13                   Again, claims 1, 2 and 6.       Mark "yes" if you

    14     find for AHG.     Mark "no" if you find for Broetje.

    15                   That takes us to the question about willful

    16     infringement.

    17                   Instruction:     If you answered yes to any of

    18     questions 1, 3 or 5 above, answer question seven.           Otherwise

    19     go to Question 8.

    20                   If you reach Question 7 consistent with that

    21     instruction, Question 7 relates to the '339 patent I asks

    22     you:   Has AHG proven by clear and convincing evidence that

    23     Broetje Automation-USA Inc. willfully infringed the '339

    24     patent?    You mark "yes" if you find for AHG.        You mark "no"

    25     if you find for Broetje.
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     1                   The instruction below Question 7 then says:          If

     2     you answered "yes" to any of questions 1, 4 or 6 above,

     3     answer Question 8.      Otherwise go to Question 9.

     4                   If following the instruction you've reached

     5     Question 8, it asks you with respect to the '339 patent:

     6     Has AHG proven by clear and convincing evidence that

     7     Broetje-Automation GmbH willfully infringed the '339

     8     patent?    You mark "yes" if you find for AHG.        You mark "no"

     9     if you find for Broetje.

    10                   Continuing on willful infringement.         On the next

    11     page, you find an instruction.        It says, if you answered yes

    12     to question two above, answer Questions 9 and 10.

    13     Otherwise, go to Question 11.

    14                   Following that instruction, if you get to

    15     Question 9, it relates to the '216 patent and asks you:            Has

    16     AHG proven by clear and convincing evidence that Broetje

    17     Automation-USA Inc. willfully infringed the '216 patent?

    18                   Mark "yes" if you find for AHG.        Mark "no" if

    19     you find for Broetje.

    20                   And then Question 10 again with respect to the

    21     '216 patent asks you:      Has AHG proven by clear and

    22     convincing evidence that Broetje Automation GmbH willfully

    23     infringed the '216 patent?

    24                   Mark "yes" if you find for AHG.        Mark "no" if

    25     you find for Broetje.
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                                                                           1209


     1                    Now I'm at invalidity question.       First,

     2     anticipation.

     3                    Question 11 asks you with respect to the '339

     4     patent:    Has Broetje proven by clear and convincing evidence

     5     that the following claims of the 33 patent are invalid as

     6     anticipated by the prior art?

     7                    For claims 1, 2 and 6, you mark "yes" if you

     8     find for Broetje.     You mark "no" if you find for AHG.

     9                    Question 12 asks regarding the '216 patent:         Has

    10     Broetje proven by clear and convincing evidence that the

    11     following claims of the '216 patent are invalid as

    12     anticipated by the prior art?

    13                    For claims 1 and 2, you mark "yes" if you find

    14     for Broetje.    You mark "no" if you find for AHG.

    15                    Obviousness.

    16                    Question 13 relates to the '339 patent.        It

    17     asks:   Has Broetje proven by clear and convincing evidence

    18     that the following claims of the '339 patent are invalid as

    19     obvious based on the prior art?

    20                    For each of claims 1, 2 and 6, you mark "yes"

    21     if you find for Broetje.       You mark "no" if you find for AHG.

    22                    Then at question 14, that asks you about the

    23     '216 patent:    Has Broetje proven by clear and convincing

    24     evidence that the following claims of the '216 patent are

    25     invalid as office based on the prior art?
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     1                    For claim 1 and claim 2, mark "yes" if you find

     2     for Broetje.    Mark "no" if you find for AHG.

     3                    Indefiniteness.

     4                    Question 15.    Has Broetje proven by clear and

     5     convincing evidence that the claims of the '339 patent are

     6     invalid because the claim term peripheral guiding is

     7     indefinite?

     8                    Mark "yes" if you find for Broetje.        Mark "no"

     9     if you find for AHG.

    10                    That takes us to patent damages, and you have an

    11     instruction here, which reads:

    12                    If, one, you answered yes to any part of

    13     questions 1 to 10 above (that is, you found that one or more

    14     claims of U.S. Patent No. '339, or U.S. Patent No. '216 were

    15     infringed by Broetje);

    16                    And, two, with respect to any such infringed

    17     claim or claims, you answered no to Questions 11 to 15 above

    18     (that is, you found that such infringed claim or claims are

    19     not invalid);

    20                    Then answer Question 16.      Otherwise, leave this

    21     question blank and go on to Question 17.

    22                    Question 16.    If following this instruction you

    23     reach it, asks you:      What amount of damages is AHG entitled

    24     to as compensation for Broetje's infringement of the '339

    25     patent and/or the '216 patent?
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                                                                           1211


     1                    And now we're at trade dress, unfair

     2     competition, and intentional interference with prospective

     3     economic advantage claims.

     4                    First, trade dress infringement.

     5                    Question 17.    Has AHG proven by a preponderance

     6     of the evidence that Broetje infringed AHG's trade dress?

     7     Mark "yes" if you find for AHG.        Mark "no" if you find for

     8     Broetje.

     9                    Then you are given an instruction:       If you

    10     answered yes to Question 17, then proceed to Questions 18

    11     and 19.    Otherwise, skip Questions 18 and 19 and proceed to

    12     Question 20.

    13                    If you reach question 18, it asks you:        Has AHG

    14     proven that Broetje Automation-USA Inc. intentionally

    15     infringed AHG's trade dress?

    16                    Mark "yes" if you find for AHG.       Mark "no" if

    17     you find for Broetje.

    18                    At Question 19, you're asked:       Has AHG proven

    19     that Broetje Automation GmbH intention physically infringed

    20     AHG's trade dress?

    21                    Mark "yes" if you find for AHG.       Mark "no" if

    22     you find for Broetje.

    23                    I'm now at the page with the header unfair

    24     competition (Federal and State law).         And it tells you, the

    25     parties have stipulated that if you find that Broetje
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     1     infringed AHG's trade dress, then Broetje is also liable for

     2     unfair competition under federal and State law.           Please

     3     proceed to the next question.

     4                   Next is intentional interference with

     5     prospective economic advantage.

     6                   Question 20 asks you:      Has AHG proven by a

     7     preponderance of the evidence that Broetje Automation-USA

     8     Inc. intentionally interfered with AHG's prospective

     9     economic advantage?

    10                   Mark "yes" if you find for AHG.        Mark "no" if

    11     you find for Broetje.

    12                   Question 21.     Has AHG proven by a preponderance

    13     of the evidence that Broetje Automation GmbH intentionally

    14     interfered with AHG's prospective economic damage?

    15                   Mark "yes" if you find for AHG.        Mark "no" if

    16     you find for Broetje.

    17                   Next is damages on trade dress, unfair

    18     competition, and intentional interference with prospective

    19     economic advantage claims.

    20                   Question 22.     Before May 12, 2007, did AHG

    21     discover, or know of facts that would have caused a

    22     reasonable person to suspect, that Broetje was selling

    23     its allegedly infringing rivet cassettes in the United

    24     States?

    25                   Mark "yes" if you find for Broetje.         Mark "no"
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     1     if you find for AHG.

     2                   Then there's an instruction:       If you answered

     3     yes to Question 22, then answer Question 23.          If you

     4     answered no to Question 22, continue to Question 24.

     5                   Question 23, should you reach it, asks you:

     6     Before May 12, 2006, did AHG discover, or know of facts that

     7     would have caused a reasonable person to suspect that

     8     Broetje was selling its allegedly infringing rivet cassettes

     9     in the United States?

    10                   Yes is for Broetje.      No is for AHG.

    11                   Then Question 24:      What amount of damages is AHG

    12     entitled to as compensation for trade dress infringement,

    13     unfair competition under federal law, unfair competition

    14     under state law, or intentional interference with a

    15     prospective economic advantage?

    16                   There's a blank there for you to fill in an

    17     amount.

    18                   And then Question 25:      If you answered "yes" to

    19     question 18 or 19, finding that either Broetje

    20     Automation-USA Inc. or Broetje Automation GmbH intentionally

    21     infringed AHG's trade dress (which the parties have

    22     stipulated to mean Broetje is liable for unfair competition

    23     under state law), or "yes" to question 20 or 21, finding

    24     that either Broetje Automation-USA Inc. or Broetje

    25     Automation GmbH intentionally interfered with AHG's
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     1     prospective economic advantage, what amount of punitive

     2     damages, if any, do you award AHG?

     3                   And then again a space for you to mark in an

     4     amount.

     5                   And then on the very last page it instructs you,

     6     you have now reached the end of the verdict form and should

     7     review it to ensure it accurately reflects your unanimous

     8     determination.     All jurors should then sign and date the

     9     verdict form in the spaces below and notify the Court

    10     security officer that you have reached a verdict.           The

    11     presiding juror should retain possession of the verdict form

    12     and bring it when the jury is brought back into the

    13     courtroom.    And there's a space for it to be dated and for

    14     all eight of you to sign it.

    15                   That completes my reading and we'll now call

    16     forward our security officer.       Mr. Looby will administer the

    17     oath.

    18                   (Court security officer placed under oath to

    19     watch the jury.)

    20                   THE COURT:    Thank you.    We'll now take the jury

    21     out.

    22                   (Jury left courtroom.)

    23                   THE COURT:    All right.    Have a seat.     And I'm

    24     going to talk for a little while.

    25                   First, a couple things that I would like you
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     1     all to meet and confer on during the course of the jury

     2     deliberations.     Then we'll have the time sometime today to

     3     talk about results of whatever your meet and confer yields.

     4                   I'm concerned that if there is any

     5     inconsistencies on the verdict form, I always review the

     6     verdict form before I have it read, but I don't always

     7     notice if there are inconsistencies.

     8                   I will try to be, of course, as careful as I

     9     can but it is a complicated verdict form.          I'll probably

    10     take some time, probably at sidebar, with the assistance of

    11     my law clerk to review it before it is read in open court.

    12                   If we were to notice an inconsistency, what I

    13     would like is your considered views on what should I do at

    14     that point.    So take some time over the course of the

    15     afternoon to meet and confer on that.         And when we next

    16     speak, I'll ask you what your proposals are as to what I

    17     should do if I do think I see any inconsistency.

    18                   Additionally, if both sides agree, assuming we

    19     get a verdict whenever we do, I'd like to provide you the

    20     opportunity to speak with the jury, if any of the jurors

    21     wish to stay afterwards.       But I will only give you that

    22     opportunity if both sides agree they want it and if you make

    23     a representation on the record at the appropriate time that

    24     you won't use anything that you hear in those discussions in

    25     any post-trial motions or on appeal.
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     1                    So think about that because I will at some point

     2     ask you those questions and see if you want to have that

     3     opportunity.

     4                    Let me take a few minutes and just put on the

     5     record some of the thinking that went into our rulings on

     6     the jury instructions and the verdict sheet.

     7                    All right.   I think I've got these notes pretty

     8     much in order of the jury instructions.

     9                    With respect to Broetje's proposed instruction

    10     4.6 regarding design-around, we deleted that instruction as

    11     we didn't think it was necessary or appropriate to explain

    12     the policy behind design-arounds.

    13                    On 5.0, we kept in the instruction on willful

    14     infringement because I thought the jury having heard the

    15     evidence, it will be helpful for them to give us their

    16     views on whether willfulness has been proven or portions of

    17     willfulness.

    18                    On 6.8, obviousness, level of ordinary skill,

    19     we kept AHG's contention of characterization of one of

    20     ordinary skill, and we also included Broetje's position

    21     though with rewrote it to make it more clear.          We thought it

    22     was appropriate to give both sides' views and we were not

    23     persuaded that Broetje's view was new or in any way unfair

    24     or surprising to AHG.

    25                    On 6.9, obviousness - objective criteria, we
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     1     did not add AHG's proposal regarding a presumption of a

     2     relationship between commercial success and the patent.            We

     3     also didn't include anything about whether that presumption

     4     would be rebuttable.      I thought all that was unnecessary and

     5     would be confusing.

     6                   On 6.10, indefiniteness.       We combined the

     7     parties proposals, mostly relying on AHG's which we thought

     8     was accurate and appeared to be I think derived from the

     9     AIPLA and District of Delaware model instruction.

    10                   7.6, generic trade dress.       We took Broetje's

    11     proposal and integrated it into the secondary meaning

    12     instruction which we thought was accurate, appropriate and

    13     helpful especially given where we placed it.

    14                   On 7.8, likelihood of confusion.        We resolved

    15     the dispute about distribution channels by including both

    16     parties' proposals.      That is, if they were likely sold to

    17     the same or similar customers or sold through the same

    18     distribution channels, that could contribute to a finding of

    19     likelihood of confusion.       The test itself is not exhaustive

    20     and we thought both of what the parties proposed could

    21     support a finding of confusion.

    22                   On 8.8, unfair competition.       We clarified the

    23     parties' agreement about the verdict on unfair competition

    24     following directly from the verdict on trade dress

    25     infringement.
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     1                   9.1.   On the elements of the intentional

     2     interference claim, as you will have seen, we will have

     3     concluded that the California state claim was not preempted

     4     by federal patent law.      The Federal Circuit has noted there

     5     is an underlying presumption disfavoring preemption.           That

     6     is at least in the Hunter Douglas decision of the Federal

     7     circuit.

     8                   By agreement, there is no field preemption so

     9     the issue was just conflict preemption.         We found no such

    10     preemption here as California law requires multiple elements

    11     to be proven, only one of which may, but need not necessarily

    12     be, satisfied by a finding of patent infringement.           California

    13     law is not regulating the protection of innovation but rather

    14     regulating how entities compete in the marketplace.           So we saw

    15     no conflict, despite the fact that one outcome may be that

    16     the type of damages, enhanced damages essentially, that can be

    17     obtained on a preponderance finding under California law is

    18     different than what could be found based on just a finding of

    19     preponderance under federal patent law.         Again, there are all

    20     those additional elements in order to reach that decision

    21     under California law.

    22                   At bottom, in the Court's view, the state law

    23     here does not "stand as obstacle to the accomplishments and

    24     execution of the full purposes and objectives of Congress."

    25     It's a quote from a decision in this District.          I believe it
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     1     was Judge Jordan in the Cryovac decision, 430 F. Supp. 2nd

     2     at 358.    Just as he found the state law there, we find here

     3     there is no obstacle.

     4                   Moving on, 10.1, patent damages.        Generally, we

     5     thought both parties were correct in regards to the one

     6     dispute that they had.      So we told the jury that they could

     7     base their evaluation of reasonable certainty on either

     8     expert or opinion evidence.

     9                   10.2B, the date for patent damages.         We adopted

    10     Broetje's proposal which we thought was more complete and

    11     clear but we did move some things around hopefully in at

    12     least an effort to make things even more clear.

    13                   At 10.11, lost profits, doubts resolved against

    14     the infringer.     We adopted that proposal with some

    15     modification.     We thought it was a correct statement of law.

    16     Broetje indicated they thought some motion in limine

    17     precluded the inclusion of that instruction, didn't tell

    18     us which, if any, motion in limine that was, and we couldn't

    19     figure it out, so we didn't find anything that precluded us

    20     from finding that instruction.

    21                   11.2a.    Damages for trade dress infringement.

    22     We used AHG's most recent -- no, I'm sorry.          We used AHG's

    23     proposal which listed the various factors to consider but we

    24     deleted that No. 5, the corrective advertising.           AHG agreed

    25     it was proper to delete that one.        We thought the remainder
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     1     of AHG's proposal was accurate and not unduly confusing, and

     2     we thought evidence was presented that the jury might find

     3     could support some or all of those other factors.

     4                   11.3a, damages for trade dress infringement we

     5     adopted.    This is the one we adopted AHG's revised proposal

     6     which I think we got yesterday morning which we thought

     7     correctly instructed the jury that it can award damages

     8     based on any revenues it finds "resulted from the use of

     9     AHG's trade dress."

    10                   The parties were permitted to argue whether or

    11     not evidence was presented that would allow a finding in

    12     this regard of anything other than just the cassettes, but

    13     we thought what AHG came up with was an accurate statement

    14     of the law.    Notably, neither side found a case that was

    15     directly on point, nor did we.        And there is some degree of

    16     equitable considerations that has to go into this.

    17                   I think by the parties' agreement under the case

    18     law and in the Court's view, I think equitable considerations

    19     support the instruction that we came up with which was AHG's

    20     revised proposal.

    21                   On 11.6, trade dress statute of limitations.          We

    22     agreed with Broetje that because it is a common law claim,

    23     the applicable statute of limitations was two years and not

    24     four years.

    25                   11.13, no duplicative damages.        We added
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     1     Broetje's introduction and clarified that the no duplication

     2     instruction does not apply to punitive damages.

     3                    13.0, we added our foreign law instruction.

     4                    Just one additional note.      Any instructions

     5     that Broetje proposed that they were indicating they were

     6     expressly proposed for purposes of preserving rights on

     7     appeal, we did not adopt any of those instructions.

     8                    And then just briefly on the verdict form, you

     9     figured out undoubtedly what we decided but we did think it

    10     was appropriate on all of the intent claims to separate out

    11     the two Broetje entities.       We thought it was appropriate

    12     to separate out, for separate findings, anticipation and

    13     obviousness.

    14                    On patent damages, we tried to come up with a

    15     sort of if-then logical chain that would hopefully lead the

    16     jury to what with I think we all agree was the intent as to

    17     when and how they should reach that issue.

    18                    On the statute of limitations, I thought it

    19     would be helpful with the jury having heard the evidence

    20     to give us some feedback on statute of limitations, and we

    21     thought that we could not improve upon defendants' proposal

    22     on those two questions and we went with those.

    23                    You will need to make sure we no how reach you

    24     if, and when, any questions come up.         So make sure Mr.

    25     Lobby knows how to reach both sides.
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     1                    Any issues or questions from the plaintiffs

     2     before we break?

     3                    MR. LINDVALL:     No, Your Honor.

     4                    THE COURT:    And defendants?

     5                    MR. KELLEHER:     No, Your Honor.

     6                    THE COURT:    All right.    Thank you very much.       We

     7     will be in recess.

     8                    (Recess taken while jury deliberated.)

     9                    *       *     *

    10                    (Proceedings reconvened after recess.)

    11                    THE COURT:    Have a seat.

    12                    So we got a note which says:        "Need

    13     clarification on Question 22 and 23," which I think are the

    14     statute of limitations questions.         It doesn't say anything

    15     else other than being signed and have a juror number on it.

    16                    So again, in total, it appears to read:        "Need

    17     clarification on Question 22 and 23."         So, obviously, I want

    18     your thoughts on what to do about this.

    19                    MR. LINDVALL:     22 and 23 are the damages on

    20     trade dress?       That's what we have.

    21                    THE COURT:    Yes, damages on trade dress.       Before

    22     May 12, 2007, did AHG discover and then before May 12, 2006,

    23     did AHG discover.       That is what 22 and 23 are on the verdict

    24     sheet.   So I assume that is what they're referring to.

    25                    MR. LINDVALL:     Right.   Okay.
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     1                   THE COURT:    But I know nothing more than what is

     2     on the note, of course.      So take a moment and confer amongst

     3     yourselves and then you can confer with each other, if you

     4     like, about what your proposals are.

     5                   MR. LINDVALL:     Okay.

     6                   (Counsel confer.)

     7                   THE COURT:    Mr. Lindvall, do you need more time?

     8                   MR. LINDVALL:     No, Your Honor.

     9                   THE COURT:    Mr. Kelleher, do you want some more

    10     time?

    11                   MR. KELLEHER:     May I have one moment, Your

    12     Honor, please?

    13                   THE COURT:    Sure.

    14                   (Counsel confer.)

    15                   THE COURT:    Do you want to confer with

    16     Mr. Lindvall, see if he might be in the same place?

    17                   (Counsel confer.)

    18                   THE COURT:    Mr. Lindvall, what is your view?

    19                   MR. LINDVALL:     Your Honor, our view is since

    20     this was not, neither one of these questions are essential

    21     to come up with a verdict, we think probably in the interest

    22     of avoiding confusion and any delay is that the jury be

    23     told we remove these questions from them and let Your Honor

    24     address along with the equitable tolling and all the other

    25     statute of limitations.
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     1                   THE COURT:    These are really advisory findings;

     2     is that correct?

     3                   MR. LINDVALL:     Correct.    We think in that case,

     4     just in order to avoid confusion that we bypass them and let

     5     them do whatever they have been doing after that.

     6                   THE COURT:    Mr.   Kelleher, does the defendant

     7     concur in that?

     8                   MR. KELLEHER:     Your Honor, we thought about it.

     9     We see it as a reasonable fallback position.          Our initial

    10     impulse is to refer the jurors back to the instructions and

    11     see if reading them again might answer whatever questions

    12     they have, which we're not exactly sure what they are.

    13                   THE COURT:    So what would you have me do?

    14     Just tell them I would refer you to -- in response to your

    15     question, I would refer you to the following instructions?

    16                   MR. KELLEHER:     That was our initial impulse,

    17     Your Honor.    And if they still express confusion in a

    18     reasonable amount of time, I suppose we would concur with

    19     taking way the questions.

    20                   THE COURT:    Mr. Lindvall, what is your view?

    21                   MR. LINDVALL:     Your Honor, the instructions I

    22     don't think will really enlighten them on this anymore than

    23     what they say.     I think by doing that, it is just going to

    24     end up putting us back in the same situation and bouncing

    25     back.
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     1                   I think the best way to do this, since it is

     2     an advisory opinion, the Court has the discretion to remove

     3     them on this period of time since has been a cause of

     4     conflict for them.

     5                   THE COURT:    You are not persuaded, Mr. Kelleher?

     6                   And I'm not trying -- I will tell you I'm not

     7     going to change the verdict sheet unless you all agree that

     8     I should do that.

     9                   MR. KELLEHER:     Right.

    10                   THE COURT:    So I'm not trying to get you to

    11     change your position, if that is your position.           I'm not

    12     going to change the verdict sheet yet, but if that is not

    13     your position, then we could save ourselves some time

    14     possibly.

    15                   MR. KELLEHER:     I think, Your Honor, I can, given

    16     what I have heard, I could agree with Mr. Lindvall's proposal.

    17                   THE COURT:    All right.    Well, then I take it

    18     maybe the way to do this is for me to bring the jury in, for

    19     me to tell them in response to their question, I'm directing

    20     them that they do not have to answer Questions 22 and 23.

    21                   And then I will also tell them we would like

    22     to know if they intend to stay past 4:30.          If they all

    23     unanimously agree they want to stay past 4:30 they should do

    24     so, but given the time of day they should let us know that.

    25                   Any objection from plaintiffs?
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     1                   MR. LINDVALL:     No, Your Honor.

     2                   THE COURT:    And from defendants?

     3                   MR. KELLEHER:     No, Your Honor.

     4                   THE COURT:    Okay.    Ms. Sharp.

     5                   MS. SHARP:    Just an observation.      Could we

     6     confer?

     7                   THE COURT:    Yes, you can confer.      Sure.

     8                   (Counsel confer.)

     9                   MR. LINDVALL:     I think Ms. Sharp just had a

    10     clerical issue.     If you did strike these, then the

    11     instruction on 22 where it says to go to 24, they would

    12     obviously go to 24 and 25.

    13                   THE COURT:    All right.    So I appreciate that.

    14                   So I think what I'm going to say to them is, in

    15     response to your question, you do not have to answer

    16     questions 22 and 23, but regardless of whether you answer

    17     question 22 and 23, you must answer question 24 and -- you

    18     must go on to question 24?

    19                   MR. LINDVALL:     Yes, Your Honor.

    20                   THE COURT:    Does that work?     Mr. Kelleher, do

    21     you agree with that?

    22                   MR. KELLEHER:     I think that's correct, Your

    23     Honor.

    24                   THE COURT:    All right.    Let me write that down

    25     so I get that right.
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     1                   All right.    I am going to bring them in and say,

     2     in response to your question, you do not have to answer

     3     questions 22 and 23, but whether you answer question 22 and

     4     23 or not, you must go on to question 24.          Correct?

     5                   MR. LINDVALL:     Yes, your Honor.     That's fine.

     6                   THE COURT:    Correct, Mr. Kelleher?

     7                   MR. KELLEHER:     Yes, your Honor.

     8                   THE COURT:    All right.    Let's bring the jury

     9     back in.

    10                   (The jury entered the courtroom.)

    11                   THE COURT:    Ladies and gentlemen of the jury, I

    12     brought you in here to respond to your note that you sent

    13     out.

    14                   In response to your question, you do not have to

    15     answer question 22 and 23, but whether or not you answer

    16     question 22 and 23, you should follow the instructions for

    17     going on to question 24.       So, again, in response to your

    18     question, you do not have to answer question 22 and 23, but

    19     whether or not you answer question 22 and 23, follow the

    20     instructions for going on to question 24.          That's my answer

    21     to your question.

    22                   Separately, I have essentially a question for

    23     you, which I will ask you to go back in, respond to with a

    24     note after you go back into the jury room, which is, in

    25     light of the time of day it is, we need to know whether you
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     1     have or do unanimously decide to stay beyond 4:30.           If you

     2     all agree to do that, you can stay as long as you want.            If

     3     you don't all agree to stay beyond 4:30, then you'll come

     4     back Monday at 9:00 a.m. and continue with your

     5     deliberations.     So please send us a note after you've made

     6     that decision.     Thank you.

     7                   (The jury was excused to the jury room.)

     8                   THE COURT:    All right.    Have a seat.

     9                   Any questions or concerns about what just

    10     happened here, Mr. Lindvall?

    11                   MR. LINDVALL:     No, Your Honor.

    12                   THE COURT:    Mr. Kelleher?

    13                   MR. KELLEHER:     No, Your Honor.

    14                   THE COURT:    All right.    So if we were to get a

    15     verdict, have you all talked about what I should do about

    16     reviewing that and what I should do if I see any

    17     inconsistency?     Mr. Lindvall?

    18                   MR. LINDVALL:     Yes.   I believe we've come to an

    19     agreement, Your Honor.      What we would do is treat of kind of

    20     like a question.     If you see an inconsistency in there, you

    21     consult with the two of us, we figure out how, what kind of

    22     questions or what instructions you could give them to

    23     eliminate the conflict or the inconsistency in the verdict

    24     form so that they, they can go back and then remedy it.

    25                   THE COURT:    So if I think I see an
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     1     inconsistency, would you have me tell you the substance of

     2     what appears to be the inconsistency?

     3                   MR. LINDVALL:     Yes.   Tell us the substance of

     4     it.   We would come up with some type of instruction that you

     5     could give the jury to eliminate that inconsistency so that

     6     you continue to deliberate.

     7                   THE COURT:    Okay.    Mr. Cahr?

     8                   MR. CAHR:    That's not perfectly our

     9     understanding.     Not to say that you are misstating it.

    10     There may have been a misunderstanding.          Our understanding

    11     was that it was going to be more along the lines of, if

    12     there's an inconsistency that you identify, you wouldn't

    13     tell us what the inconsistency would be, but you would

    14     simply tell them there's an inconsistency in your verdict.

    15     Please return to deliberations.

    16                   THE COURT:    That sounds like no agreement.

    17                   MR. CAHR:    No, no, no.

    18                   THE COURT:    They are both reasonable proposals,

    19     but they sound different to me.

    20                   MR. LINDVALL:     Yes.   Sorry.

    21                   THE COURT:    Okay.    Well, that is helpful.      You

    22     know, we'll see if we have a verdict.         We may have a chance

    23     to talk about it further.       I'm not quite sure what I will

    24     do.

    25                   And in terms of meeting with the jury, have you
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     1     all talked about that at all?       Do you have a view?

     2                   MR. CAHR:    That I think we are definitely in

     3     agreement on.

     4                   THE COURT:    Okay.

     5                   MR. CAHR:    We both want to do that.

     6                   THE COURT:    You both want to do that?

     7                   MR. CAHR:    Yes.

     8                   MR. LINDVALL:     Yes.

     9                   THE COURT:    You'll be prepared to make those

    10     representations?     Sit tight.     I think we'll hear whether

    11     they are going to stick around.        We'll be in recess.

    12                   (Court recessed while jury continues

    13     deliberations.)

    14                   *      *      *

    15                   (Proceedings reconvened after recess.)

    16                   THE COURT:    You have been provided copies of

    17     this note; is that correct?

    18                   MR. LINDVALL:     Yes.

    19                   THE COURT:    It looks to me like it says:        "We

    20     have completed deliberation."       Maybe I'm being too lawyerly.

    21     I don't know if that for sure means it is a verdict, so I

    22     thought I would bring them in and say do you have a verdict?

    23     And if they say yes, then I'll have them hand it to us.

    24                   Is there any objection to that approach?

    25                   MR. LINDVALL:     No, Your Honor.
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     1                    MR. KELLEHER:     No, Your Honor.

     2                    THE COURT:    All right.   Let's bring the jury in.

     3                    (Jury returned.)

     4                    THE COURT:    Welcome back, ladies and gentlemen

     5     of the jury.

     6                    Have you reached a verdict.

     7                    A JUROR:     Yes, we have, Your Honor.

     8                    THE COURT:    All right.   Then I will have you

     9     hand the verdict sheet to Mr. Golden.

    10                    (Verdict sheet passed to the Deputy Clerk, and

    11     then to the Court.)

    12                    THE COURT:    I'll ask for your patience while I

    13     review it.

    14                    (The Court goes to sidebar and reviews the

    15     verdict sheet with the law clerk.)

    16                    THE COURT:    Thank you for your patience.       I'll

    17     now have Mr. Golden read the verdict.

    18                    THE DEPUTY CLERK:     As to Question 1.     Patent

    19     infringement.     Direct infringement.     U.S. Patent No.

    20     5,011,339:

    21                    The jury has determined that claims 1, 2, and 6

    22     have been infringed under the '339 patent.

    23                    U.S. Patent No. 5,143,216.

    24                    Has AHG proven infringement of the '216 patent

    25     claims for claims 1 and 2?
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     1                   The box "yes" has been checked.

     2                   Question 3 regarding the '339 patent.

     3                   Has AHG proven infringement induced a third

     4     party to infringe the claims of the '339 patent?

     5                   The lines for claims 1, 2, and 6 have been

     6     checked "yes."

     7                   Question No. 4.     Has AHG proven that defendant

     8     has induced a third party to infringe the claims of the '339

     9     patent?

    10                   Claims 1, 2, and 6, the lines have been checked

    11     "yes."

    12                   Question No. 5.     Has AHG proven defendant

    13     contributed to the infringement by a third party of the

    14     claims of the '339 patent?

    15                   The lines "yes" have been checked for claims 1,

    16     2, and 6.

    17                   Question No. 6.     Has AHG proven that defendant

    18     contributed to infringement by a third party of the

    19     following '339 patent claims?

    20                   The box "yes" has been checked for claims 1, 2,

    21     and 6.

    22                   Question No. 7.     Has AHG proven by clear and

    23     convincing evidence that the defendant willfully infringed

    24     the '339 patent?

    25                   The box "yes" has been checked.
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     1                    Question No. 8.    Has AHG proven by clear and

     2     convincing evidence that defendant willfully infringed the

     3     '339 patent?

     4                    The line "yes" has been checked.

     5                    Question No. 9.    Has AHG proven by clear and

     6     convincing evidence that the defendant willfully infringed

     7     the '216 patent?

     8                    The box "yes" has been checked.

     9                    Question No. 10.    Has AHG proven that defendant

    10     willfully infringed the '216 patent?

    11                    The line "yes" has been checked.

    12                    Question No. 11.    Has defendant proven by clear

    13     and convincing evidence that the following claims of the

    14     '339 patent are invalid as anticipated?

    15                    Regarding claims 1, 2 and 6, the box "no" has

    16     been checked.

    17                    Question No. 12.    Has defendant proven that

    18     the following claims of the '216 patent are invalid as

    19     anticipated by the prior art?

    20                    Regarding claims 1 and 2, the box "no" has been

    21     checked.

    22                    Question No. 13.    Has defendant proven that the

    23     following claims of the '339 patent are invalid as obvious?

    24                    Regarding claims 1, 2, and 6, the line "no" have

    25     been checked.
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     1                    Question No. 14.    Has defendant proven that the

     2     following claims of the '216 patent are obvious based on the

     3     prior art?

     4                    The lines for claims 1 and 2 have been checked

     5     "no."

     6                    Question No. 15.    Has defendant proven that the

     7     claims of the '339 patent are invalid because "peripheral

     8     guiding" is indefinite?

     9                    The line "no" has been checked.

    10                    Question No. 16 under the Patent Damages

    11     section.

    12                    What amount of damages is AHG entitled to as

    13     compensation for defendant's infringement of the '339 and/or

    14     '216 patent?

    15                    The amount $2,099,943 has been written in.

    16                    Question 17.    Has AHG proven that defendant

    17     infringed AHG's trade dress?

    18                    The line "yes" has been checked.

    19                    Question No. 18.    Has AHG proven that the

    20     defendant intentionally infringed AHG's trade dress?

    21                    The line "yes" has been checked.

    22                    Question 19.    Has AHG proven that defendant

    23     intentionally infringed AHG's trade dress?

    24                    The line "yes" has been checked.

    25                    Question No. 20.    Has AHG proven that defendant
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     1     intentionally interfered with AHG's prospective economic

     2     advantage?

     3                   The line "yes" has been checked.

     4                   Question No. 21.     Has AHG proven that defendant

     5     intentionally ly interfered with AHG's prospective economic

     6     advantage?

     7                   The line "yes" has been checked.

     8                   Question No. 22.     Before May 12th of 2007, did

     9     AHG discover, or know the facts that would have caused the

    10     person to suspect that defendant was selling its allegedly

    11     infringing rivet cassette case -- cassettes in the United

    12     States?

    13                   The line "no" has been checked.

    14                   Question No. 23.     Neither box is touched as in

    15     checked.

    16                   Question No. 24.     What amount of damages is AHG

    17     entitled to as compensation for trade dress infringement,

    18     unfair competition under federal law, unfair competition

    19     under state law, or intentional interference with a

    20     prospective economic advantage?

    21                   The amount $6 million has been written in.

    22                   Question No. 25.     If you answered "yes" to 18 or

    23     19, finding, et cetera, to Question 21, what amount of

    24     punitive damages, if any, do you award to AHG?

    25                   The amount $6 million has been written in.
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     1                   It is dated the 11th day of April, 2014, and

     2     signed by all eight jurors.

     3                   THE COURT:    Thank you very much, Mr. Golden.

     4                   Mr. Lindvall, would you like to have the jury

     5     polled?

     6                   MR. LINDVALL:     Yes, Your Honor.

     7                   THE COURT:    Okay.    Mr. Golden, poll the jury.

     8                   THE DEPUTY CLERK:      Certainly, Your Honor.

     9                   Juror No. 1, is the verdict read in court -- is

    10     the verdict read in court true and correct and supported

    11     before your vote?

    12                   THE FOREMAN:     Yes, it is.

    13                   THE DEPUTY CLERK:      Juror No. 2, is the verdict

    14     read in court true and correct and supported before your

    15     vote?

    16                   JUROR NO. 2:     Yes, it is.

    17                   THE DEPUTY CLERK:      Juror No. 3, is the verdict

    18     read in court true and correct and supported before your

    19     vote.

    20                   JUROR NO. 3:     Yes, it is.

    21                   THE DEPUTY CLERK:      Juror No. 4, is the verdict

    22     read in court true and correct and supported before your

    23     vote?

    24                   JUROR NO. 4:     Yes, it is.

    25                   THE DEPUTY CLERK:      Juror No. 5, is the verdict
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     1     read in court true and correct and supported before your

     2     vote?

     3                   JUROR NO. 5:     Yes, it is.

     4                   THE DEPUTY CLERK:      Juror No. 6, is the verdict

     5     read in court true and correct and supported before your

     6     vote?

     7                   JUROR NO. 6:     Yes, it is.

     8                   THE DEPUTY CLERK:      Juror No. 7, is the verdict

     9     read in court true and correct and supported before your

    10     vote?

    11                   JUROR NO. 7:     Yes, it is.

    12                   THE DEPUTY CLERK:      Juror No. 8, is the verdict

    13     read in court true and correct and supported before your

    14     vote?

    15                   JUROR NO. 8:     Yes, it is.

    16                   THE DEPUTY CLERK:      Thank you.

    17                   THE COURT:    Thank you, Mr. Golden.

    18                   And thank you, ladies and gentlemen of the jury.

    19     I know it has been a long week and we're here essentially on

    20     overtime right now.      I know on behalf the parties and my

    21     colleagues and really the entire judicial system, we are

    22     very grateful to you.      We could not do our work without the

    23     strong efforts and time and devotion of citizens like you

    24     and I really appreciate it.

    25                   I'm going to need to hold on to you for just a
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     1     couple more minutes.      If you can go back to the juryroom and

     2     start collecting your things.       There are a few other things

     3     I want to say to you, and I want to thank you personally,

     4     and so I will see you very shortly back in the juryroom.

     5                   Thank you very much.

     6                   (Jury left courtroom.)

     7                   THE COURT:    So notwithstanding the hour, if the

     8     parties are still interested and any jurors want to stay,

     9     I'm happy to have you talk to them.        Is that still something

    10     plaintiffs are interested in doing?

    11                   MR. LINDVALL:     Yes, Your Honor.

    12                   THE COURT:    And defendants?

    13                   MR. KELLEHER:     Yes, Your Honor.

    14                   THE COURT:    All right.    So, Mr. Lindvall, do you

    15     represent on behalf of your client that you will not use

    16     anything that you learn in discussions with the jury, if

    17     there are any, in any further motions in front of me or on

    18     appeal or in any other legal proceeding?

    19                   MR. LINDVALL:     I do, Your Honor.     And I assume

    20     there won't -- will not be a written record being taken.

    21                   THE COURT:    There is no written record.       That's

    22     correct.

    23                   Mr. Kelleher, you agree to the same?

    24                   MR. KELLEHER:     I do.

    25                   THE COURT:    All right.    Well, I'll go back and
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     1     if any of them are willing to stay, we'll let you know that.

     2                   (Jury trial proceedings end at 5:26 p.m.)

     3

     4            I hereby certify the foregoing is a true and accurate
           transcript from my stenographic notes in the proceeding.
     5

     6                                     /s/ Brian P. Gaffigan
                                          Official Court Reporter
     7                                      U.S. District Court

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